       Case 3:16-cv-01304-DJS Document 18 Filed 10/03/16 Page 1 of 103



                                   DISTRICÍ COURT               'r   Tf"-ED
                     UNITED STATES
                     "'o,Itã,*     oF coNNEcrlcuT                           12: l0
                                                              101b 0CI -3 P


                                                               ri:l!:.BBAotBY*t
ELLEN OXMAN,
              5E'
PLAINTIFF PRO
                                                       3:1ó-o¡-01304-MPS
                                        CIVIL CASE NO'
 v                                      ;ñ;*Nr      FoR DAMAGE
                                                                     oI?
                                         ;Jö     ;, ñc DE.LARAT.RY
                                                          PURSUANT      TO
                                         INJUN TNE RELIEF
                                         42 u.s.c. 1983
                                         JURY DEMAND
                          et al
 JOHN CRAIG OXMAN'
 DEFENDANTS
 JOHN DOE,S 1-20
 JANE DOES 1-20
  DEFEN DANTS

                                  AMENDED COMPLAINT
                                                                Complaint'
                                  se' hereby fltes this Àmended
                    Plaintiff Pro
     ELLEN OXIvIAN'
                      Defendants     and a[eges:
     Comptains of the
                                                 AND VENUE
                                  JURISDICTION


         l.JurisdictionofthisCourboverPlajfltiffsclaimsispredicatedon23
            U.S.C.Lza?jlaintiffhagamendedthecomplainttoproperlyand  of
                                         Thus' to clarify diversity
            Iega[ycomplywith diversit'y'

             citizenship,thenamedDefendantshavecomptetediversityof
             citizenshipbetweenPbintiffandDefendantsinthisAmended
             Complaint.TheDefenda'rrtswholackeddiversit,y,naned'jlt'he
              origi¡alcomplaint,a,rerelevarrtasatlegedwitlflilmaterialwitnesses
              a.li€nedwithtÏroseDefenda¡tgllowproperlynarned.Plaintiffhas


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  sustaiaed.ifreparableinjujTrarrdfinanciallossesfarjnexcessof

  $?5,Ooo'oo'

2.ThisCourbhasjurisdictionovelthisactionrrnd'era8U.S.c.1õ51
   (Federalque$ion)'A8U'S'C'AAO1(DeclaratorTrJud€lnentAct)'

S.ThisCourthasjurisdictionovesthisactionrrnderofTitletr
                                                    is disabled and
                           1990 (*ADA:')' flaintiff
   Americanwith Disabitities                                 hearin€
                               the marria€e' was born with a
                      child of
   G-G.O', the oldest
                                               (surgical and otlrer), a,rrd
                        cefiain interventlons
   disabitity requfin$

    sPecial aids'

 4.ThisCourtha^sjuflsdictionoverthisactionrrndercoloroflaw
     deprivingPlaintiffofÏrerConstitutionalEigþtstoDrreProcess?8
                                                            Process'
                        A8 U'S'C' 1551
                                        Ïlr4lF'i€hts of Due
        U.S.C' 1985 1988'

   s.CIVILRIGHTSLIABILITYINDE,R42U.S.C.$|9s3..42

        U.S.C.$lgS3,commonlyreferredtoas''section1983''

         provides
                                                             o
                                            o
    6
                                                                         the
                                                         or Territory or


                                  S
          District of Columbia'
                                                               the
                                 States or other Person within
           citizen of the United

           jurisdiction thereof
                                                            o


                                           ,)
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                                              r         except
                  o

                                   judicial
                                    a       officer for an act
                   brought against
that in any action

 oromissiontakeninsuchoff,rcer'sjudicialcapacity,

 injunctivereliefshallnotbegrantedunlessadeclaratory

  decreewasviolatedordeclaratoryreliefwasunavailable.

?.Thetraditionaldefînitionofactingunderthecolorofstate
                         defendant  has exercised power
                     the
   law requires that
                                          made possible
                                                        only
                                  law and
                  virtue of state
    "possessed by

   becausethewrongdoerisclothedwiththeauthorityofstate
                                           even if the
                   may result in liability
    law-and such actions

    defendantabusesthepositiongiventohimbythestate.',
                                                            under
                         also act under color of state law
                     may
  e. A private actor
                                                        held that a
                            -For example' it has been
     certain circumstances'

      physicianwhocontractswiththestatetoprovidemedical

      caretoinmatesactsunderthecolorofstatelaw_Forall

       practicalpurposes'the"colorofstatelaw"requirementis



                                     J
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                         action" prerequisite to constitutional
 identical to the "state

 liability,aswillbeshowninthismatterbeforethecourt.

e.ThesupremeCourthasheldthattheDueProcessClausewas

  notintendedtosupplanttortlaw,ortobecome''afontoftort

  lawtobesuperimposeduponwhateversystemsmayalready
                                  this backdrop, to
                                                    state
                                      Against
      administered   by the States,,-
   be
                                       Process' a plaintiff must
                                  Due
   a claim for a
                  deprivation of
                                                   protected property
                    possessed a constitutionaty
    show: (a) s/he
                                 was  deprived of that interest
                   (b) that s/he
    interest; and

     withoutdueprocessoflaw.Plaintiffmakesaprimafacie
                          ComPlaint'
     case in this Amended

   lo.Dueprocesspropertyinterestsarecreatedby''existing

      rulesorunderstandingsthatstemfromanindependentSource
                                                 that secure certain
                                or understanding
       such as state law--rules

       benef,tsandthatsupportglaimsofentitlementtothose
                                                           Due
                                          protected by the
                           a property interest
        benefîts."-To have

        ProcessClause,,,apefsonmusthavemorethananabstract

         needordesireforit.Hemusthavemorethanaunilateral
                                       4
Case 3:16-cv-01304-DJS Document 18 Filed 10/03/16 Page 5 of 103




expectationofit.S/hernust,instead,havealegitimateclaim
                                                            and
                          properly 'bt preceded by notice
 of entitlement to
                   it' or
                                        to the nature o f the
                  hearing appropriate
 opportunity for
               I   ll
     case...
                                                                            and
                                                  such   fundamental rights
11          The         Bill of Rights Protects
                                              states through
                                                                            the
                  held that they apply to the
     has likewise
                                            Clause
                interest of the Due Process
      "liberty"
                                                                     VI "This
                                     of the United Stat'es Article
 12.               The Constit'ution

       Constitution...shatlbethesupr€melawoftheland;andthejud€esin     or
                                            a¡$hin€ inthe Constitution
       everTr st'ate shallbebor:nd'thereby'
                                                                The
                           to t'he contrary  notwithst'arrdjn€'
        laws of ar5¡ state                                           of t'he United
                                        and judicial officers' botlr
                            executive
         Senators"'arrd all
                                          or  afflrmation' to support this
         States, shailbe
                          boundby oath

         Constitutionn

                                                                     is akey
                                     BY  OÀTI1OF' AFFIF'MÀTION":
               *SHALL BE BOUND
      L6.                                                                 tÏre
                                      throughout' Plaintiff s case before
                            foremost
          concerrÌ frr$ and                                              oath' and
                                              EvaÐs' had no le$itimate
                               jud$e' Saratee
          Courb. The ori€inal

           thelawyersforPlaintiffa,rrdDefenda'rrta¡ea,llegedhereintohave
           perjrrredthemselves(thelatestbeingtheJanua,Iyaol6Affirrnaüon


                                                  5
 Case 3:16-cv-01304-DJS Document 18 Filed 10/03/16 Page 6 of 103




 ofAttorneySheilaB,ieselofBlarrk/Bome,aSooplusPa€ed.ocument'
                                                            F'iesel
                  with periury  and fraud that AttorTrey
 ailegedly fiIIed
                                         of the court' to the New York
                           as an offlcer
 submitted, rtrrd'er oath'
                       DraSer'
  Court of Jud$e Laura


                                            Jud€e DraSer and
                                                             Attorney
                              onthe record,
14.        In open co'rt a,nd

  R,ieseldetajledtheir*closenegsnasco'rycourt"allies"ofdecades'

      theirpubliestatementsimpl}ringcollusion,inthismattet,andby
      extention,inotlrerpre.ordained.mattersbetweentheseofflcersof

      thecourt.Thisbecomesanissueofpublicconcefl}'notlimitedto
      *oneevent'butratherad'ecad.es-ton€outlineofan"i¡lretcircle"of

       Iawyersworkir4¡withthecourbtoaccomplishresultsalready
       decidedbeforethedoorsal€everopento"tTrepublicnatla,r€e.

                                                                one
                                                               is
                               Affirmation    of Jarruary A016
  15.       ÀfiorneyB'iesel's
                                                             committed
                        Sheila B,iesel is aileged to havin$
      whereby Afiorney

        seriouspe4rrryinthismatter.Torestate,Plaintiffattemptedto
        resolvethesepresentallegationspriortothisFederalcourtfiljngby
                                     in Ma¡hattan Supreme Court' in
                    Notice of Motion
        fiting a Pro   se
                                                                   was
                                   the Corrrt (Jud$e Laura Dra€er)
                           whereby
         December of ?oI5,

         presentedwiththeallegedlyfraudrrlentGreenwichQuitchimDeeds'
                                                 and all relevant
                       an ExPert Opilion Feport'
         submittedwith
          allegationsthereof,aswellastheotherfraudulentd'ocuments.


                                        6
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                                                         of allegedly
 Judge Drager,s r€sponse was to igþore the full spectrum
                                                             allegedly
 illegal d.ocuments, and side with the alleged fraud. of the

 forged Greenwich QuitclaimDeeds, Jud€e Dra4ler stated
                                                       onthe
                    *not prrrperlybefore the NY Court " and "therefone
 record.that it was

 it would have to be deatt with in Connecticut" or wotds to that
                                                                 effect'

  stated, onthe court reconl (transcript)'



16.                 Lar¡ra Dra4ler is notorious for den¡rin$ justice to female
           "Iud$e
                                                                     is a
  Iitigarrts, biased against them a,nd their cÏrild¡en' As Plaintiff

  \Morna,n, Judse Dra$er has shown yet a€ain
                                                  that she has no qualms

  about denyingiustice to women and children in
                                                her cor:rt' Plaintiff
                                                      past, as Plaintiff had
  signed a petition against this judlle in the recent

  attended.   Íìany hearings in supporb of other women who were before
  her court. Plaintiff flled a document forrnally requestin6¡
                                                              that the

  judge, in Decernber 2015, recuse herself. .Iud€e Drager refused.

   Plaintitrthen fiIed    a legat a,nd üimely   motion of discontinuance
                                                            request by
   without preiudice, Ín January eo16, and. was denied that

   "Iud€eDra€eÎaswell,sÍncetherevyas'it'salleged,a"plan"intÏre
   works to force an il]egally obtained jud€ment/an illegal
                                                            settlement

                                                              Deeds to
   which resulted in the atlegedly forged Greenwich Quitclaim

   be left in place. Plaintiff was totd by the courb's
                                                              trial support office

   that she was d.eliberately placedbefore                   Drager. Theymade
                                                   "rud€ie
                                                         put Plaintiffbefore
      clear it was not random, but a deliberate event to



                                        7
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          Drager's court. Plaintiffwas ülegally denied due pnrcess         in
 "Iud€e
 Manhattan Supreme Court yet aSain.

17.       In this respect, The New York Court's finat r€sponse was to

 threaten PtaintifPs rights to free speech (A clear First Amendment

  Violation) in an "Order" that states if Plaintiff does not abide by the

  "Order", the Courb shall subject Plaintiff to penalties for civil

  contempt. Plaintiff is rightfully concerned that "Iudge Laura Drager

  will use this present Federal Cou¡t document a€ainst her as a fÌnding
  for Civil Contempt, but Plaintiff has no choice but to a€ain state the

  truth, state the facts, and stand up for her rights, to set the record
  straight, as Ptaintiff has been forced into being a victim of F?aud

  Upon the Courb, fi,rll denial of her Constitutional F.,ights, no Due

  Process a¡rd now is th¡eatened with Civil Contempt if she says

  "somethirrg" that "Iud€e Drager deems to be a€ainst her "Old.er",

  depriving Plaintiff of Freedom of Speech, in violation of the First

  Amendment of the Constitution. The Order, vague in its lartgua€e,

  and dangfensus, if left unaddressed, will ha,ng over      Plahtiffs   head as

  a Sword of Damocles, in perpetuity, which was the point. tr\rrbher,

  Plaintiff alleges that   cludEfe   Draéfer's recent "Orders" are void, as

  they are based upon prior pnsceerljngs that are "vold ab initio", a,nd

  so the NY Courb tactics a,re "in      telrolem", in this regaxd. Pleintiff

  alleges that the Court is pnrtecting its      "turf". Plaintiffclearly
  demonstrated, without a doubt, that the Plaintiff and the Defendant,



                                        8
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  John Craig O:cnan, were not on a "level playing field", by any meaJls;

  the Defendant             Craig Oxman, and his two (â) law flrms,
                    "Iohn
  BlaÐkÆome a¡rd Bnrrrstein Van Veen, "caled the shots". Plaintiff

  was kept in the dark, excluded from Court hearing¡s, and documents

  were produced without the Plaintiffs knowledge or consent by

  attorneys never hiredbythe Plaintiff, ever, documents that bear

  Plaintiff 's "siEpraturen. That a cou¡t would blatantly i$none such

  clear and precise documentation, presentedby a non-la'wyer, a prCI

  se   litigarrt, is a concern. That a court, instead, would issue an "order"

  that threatens "civil contempt" for the P1aintiffs right        üo speak   tnrth
  to power, speaks volumes.

18.       The New York cou¡t made clear that the Greenwich Quitclaim

  Deeds, allegedto be fraudulent, before the NewYork Courb, were not

  to be dealt rrith by the New York Courb; it was a rnaüüer for a

  Cor¡necticut Courb.

I9.        Pla,intiff alleges that this is a Civil F,i$hts ma,tter, that this is

  Fraud, Forger5r, Conversion, Breach of Fiduciar¡r Duties, Irrtentional

  Infliction of Emotional Distress, Unjust En¡ichment, Federal Identity
  theft, a violation of VAI\IA, 4e U.S.C. subchapter Itr - Violence

  Against TrlIomen, a¡rd aviolation of 43 U.S.C. Code Part D - Equal

  c.Iusüice   for Women in Courb, 18. U.S.C. 1964 - Civil F,emedies, et aI.




                                       9
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                    FACTS AND PROCEDURAL HISTORY

                                                        Saralee
eO.       The prior "judge" in Manhatüan Supreme Court'
                 *TF,ESPASSEB, ON THE COUF,T". The "jUdgC's" oath       of
  Eva,ns, üras a

  office,asstrown'WaSa^rrd.remainsi]]eÉlal,void.,neverfiledinthe
                                                        n.ever filed as per
  office of the City Clerk, a product of notar¡¡ fraud,

  the law,   as   justice requires. Asoath of office, "Iud€e Saralee
                                         a,rr


  Eva,ns,s
           *oath' iS void.. A tILe and correct copy of The oath of offlce
                                                documents aI€ annexed
  of saralee Evans (1995) and rrelated eourt'

   hETCtO AS      EXHIBIT A.


                                                                as a
el.        Federal law supersedes "state law"' hence' theiudge'
                                                           and the
   trespasser on the court, violates the u.s. constitution
                                                    of Connecticut, and
   Constitution of the State of New York, the State
                                                              the U.S.
   by extention, alt State Constitutions which incorporates
                                                         illegally ignored'
   constitution clauses of due process' as is knownbut
                                                     sa,ralee Eva,ns,
      and"therefore grcunds fortreason. The "judge",

      appeaxs to have had. no le$itimate oath of
                                                 office, a,rrd therefore was

                                                         vüith the law' Jud€e
      not at a,rrytime abona fideiudge, in accordance

      Eva¡rs wrote in EXHIBI1T a "let the
                                          plajntiff, Ellen oman" (or her

      attorney)showcausewbyanord.ershouldnotbeg¡antedforthe
                                                                      for
      followlng: I. Holdin$the plaintiff, T:llen' omaÐ', ill contempt


                                           10
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  violation of the Judgþ.ent dated Octobr 3O, 2006 and entered in the

  offi.ce of the Couaty Clerk   forthe County   of NewYork on Novernber

  1, 2006, insofar as such Judgiment incorporated by reference a

  Stipulation of Settlement...

22.     A judge is liable for injurSr caused by a     ministerial act - when a
  judge acts intentionally andknowinglyto deprive a person of his

  constitutional rights, s/he exercises no discretion or individual
  judgfnent; s/he no longer acts as a jud¡le, but a "minister of his/her

  own prejudicesn (õ86 U.S. 547, 568). In Exhibit         A   cludge Eva¡rs

  threatens Plaintiff, who is described by the court itself as clearly

  unrepresented, does notknowthere is a "JudE¡m.ent" a¡rd a

  "Seütlement" but the Courb aets as if all is legiüimate. There is no

  legitimate cludgÐ.ent a,nd no legitimate Stipulation to Settlement

  contract. Both are void ab initio,     a,nd the   Plaintiffnever signed

  them, had no knowledge of theq a¡rd wa.s at a loss as to what had

  transpired. This was done to fi:llyDECEr\rE THE COURT AIID             TTI-FI


  PUBLIC.

P"6.     Saralee Eva¡rs "arranged" a¡rd allegedly colluded Tlìrith a Ma,jor

  WaIl Street banker and his brothers, men highly placed a¡rd "well-

  regarded' in their fÌelds, that a "sham" trial be stagied, without any

  legally required and valid procedures in place to do so, such as a

  Note of Issue, which is the law for any trial to be coûrmenced in the

   State of New York. The Note of Issue for the NY "litigation" of



                                    11
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                                                            the
  oxman v. oxman Index No. 5502 L'/O DOES NOT EXIST despite
  ufacl, that      it is "publicly" displayed onweb civil supreme - case
  Detail,   a^s   being filed on 03/c,6/?j}06. A true and correct copy of the
                                                             B)
  web civil supreme docr¡ment is annexed. hereto as (EXHIBIT

  MARCH 06 eoo6, available for "public scrutiny"               orthe court

  website. It is to mislead the public. Plaintiff alleges fraud' No Note
                                                           L3/O4'
  of Issue was ever filed in oxman v. oxman Index No. õ5O2
                                                                     be
  Procedr¡rally, it's alle€ed, that's i[egat. The Note of Issue must
                                                                      how
  submitted legally - to iltr¡strate this, a blank Note of Issue a'nd

  it's to be instituted is submitted     a^s   a   true and correct copy of the

   Note of Issue, annexedhereto as (EXHIBIT C)

i<4.        The NOte Of ISSUe iS to commence          atrial.Irr oxma'nv' oxma'n'

   iü's   fully defective, illegal. The Note of Issue does not exist' It's

   "StA,MPEd." "FILED NOV         01 2006 COU1üTY CLE ,K'S OFFICE NEW

   YORK" but that iS atl - just a d.ate stamp, and therefore not

   accorrnted. for, as justice and the law requires, in the court
                                                                  minutes,

   inthe Civil Index Minute Book Inquiry. F,equiredbylaw, alegal Note
   of Issue does not exist at all; no legal flIlng, no entry, No
                                                                 Affidavit of
                                                                            on
    service, no fee paid. Ra,ther, Plaintiff alleges it was illegally faxed

    october õo, eoo6 by Herman sLoAN Robarge & sullivan, allegedly

    to the clerk of the courb, who then itlegaly stamped the Note
                                                                  of

                                                            YOR'K"
    ISSUE    "FILED NOV 01 EOO6 COUIüTY CLER'K'S OFFICE NEW

    (it must be emphasized that it's NOT filed,           does not exist in the   courf



                                          12
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                                                               Index
                               canbe seen on p' 2 of the Civil
 Clerk's Mirrutes anJrwhere as
                                  #õ' TIXFITRTT C' #3 on the Clvit
 Minute Inquiry. ON NOV 1' eOO6

 rndexMinute Bookrnquiryhas
                            only      I entrrr (anillegar jud$ment of
                                     of p'Ê of the Civil Í¡dex
                                                               ltÆ¡trte
  divorce) a tnre a'nd' cor*ect copy

  Booklnquir5¡,CaseNo'55OÊL'/O4isa'nnexedheretoasÐ(HIBIr
                                        NOV OI 2006 COUI¡TY
  Cl). The Note of Issue stamped "FILED
  CLEF,K,SoFFIcENEWYoB,K"isa"pharrtom"d.ocumentdesig¡redto
  oDeceivetheCourt'withitsaffitiatedarrdrrelatedphantom

   d.ocuments,alsostamped*FILEDNOVOIA006COUIürYCLEF'K'S

   oFFICENEWYOF,K".Itisa*packadle"ofdocumentsthatdon'texist
   inthecourtB,ecord,arenotrecordedanSnrvhereaüall'\ftrhile

   Stamped*Nov12006',theyarenotrecordedintheCourbMinutes'
   TheCivillndexMirruteBooklnquÍry,asthelawrequires.Interms
    ofthislitisation,Plaintiffallegesthatthesedocumentsthathave
    definedand.d.estroyedPlaÍntiffslife,don'tlegally"existn.onthetop
                                                                  (wire
    of this false instrument
                             (the Note of rssue) that was "faxedn

    fraud)tothecoUNrYCLE,Kit,sclearlyfaxedonoCT.So.eoo6
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     andcorrecücopyofThefaxedillegalNoteoflssue"EILEDNovl
     3006)1g&IìnexedheretoasEXHIBITD.Itst¿,tegit'g.filed"t¡r
     attorneysforPLAII{trTIEF'and'attorneysforPlaJnüifrwerea'nd

     rematnEerma,nsl,oAlüB,oba,r€e&sr¡tlivan.Thishasbeencleariy

      statedintheÏIermanAffid.avitsubmittedheretoasEXIilBIIN,


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 dated.IulySo,2oo?butnoüstamped"FILEDocToBEF,Sl,aoo?
          CLEF,K,S oFFICE NE\^I YoR,K", three
                                              (õ) flill months, yet
  CoUNITY
                                            not admitted into t'he
  the blue back on the d.ocument shows it's
  *system'- AGAIN, NO Affid.avit Of service, No Notice of Entry', No

  NoticeofSettlement.It'sapharrtomdocumentmeanttocoverup
             THE couRT. rt's parb of Fraud upon the
                                                    court and is
  DECEil,,NG

  solid. proof of same, den¡ring Ptainüiff
                                           all   rights to due pllocess in the

  underlyingmatter,leadingupüothisd.ocumentthatisaboutt'he
   allegedlyfraudrfentGreenwichQuitclaimDeedsbeforethecourt.

es.Thisdemonstratesthewayühiscourb"firnetions",atthe
   allegedrequestofDefendarrts-atlegedlywithwircfraud,uttering
                                                       yet, the
                   a¡egedto be ilegalry süaJnpingthem,
   false Ínstnrments,
                                                    case if they
   documents clearlyhave no legat süandÌngwithinthe

   ca,rrnoübe*forrnd."asthosewhichestablisheventswithinthe
                                                          of Fraudupon
   framework of legal proceedin$s. This is clear evidence

   theCourb,ofDeceivin$theCourtforreasonsknowntothosewho
    committed- these alleged crimes'

 Í¿6.The*Noteoflssue"inNystateisthed.ocumenttoinformthe
    court that the case is F,EADY to be
                                        put      On   the ürial calendar' i'e' to

    CoMMENCEatrial(note:theNoteoflssuefaxsta,mped"NoVl
                                                                     Trlaln
    aoo6,   h"as   a box marked x "Trial without jury") But a "sha'm
                                                 in adva¡ce of a
    hadalreadybeen staged, ei€ht (8) ñ]]l months
             *faxed/fake-filed" an important document that's required
     d.ocument



                                       t4
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  bylaw to commence        a   ÏHal...a trial that illegally occumed, allegedly

  "commencing" in March of 2006, a,nd was on€ioing, into October of

  A006, PlaÍntiff was told, a¡rd as seen on      T/\Ieb   Civil Supreme, the
  pubticlyavailable web access for court cases in NY; a€air, it states

  Note of Issue Filed 03/06/?,C,O6 but the Note of Issue never existed

  but forthe red herrirg stamped "FILED NOV                I   eOO6 Note of Issue",

  again a fraudulent document. Plaintiff has no legal backglorrnd at all

  and had no knowledge of court procedure. Alleged is there r/vas no

  discovery, no investigation by the lav4yers for the Plaintiff and. a

  bogus   trial held to DECETVE TIIE couBT         -   It's Fraud upon the court

  - it's allegedby Plaintiff to be crimina,l activitythat shatters          aJ|ld

  destroys the lives of society's most rrurlnerable            - children. The future
  is robbed because of bogus and fulty illegal cou¡b proceedings.

  Plaintiff has suffered deep trauma that thÍs is "possible", but it is.            It
  is the "cultru€" of the cor:¡b.     It appears to be a crftu¡e      of Quid Pro

  Quo, a Pay-to-Play      "culture" in Manhattan Supreme Court, ar€fuabty,
  it's been said, the most corrupt courb inthe corrntry, as nuny

  lawyers have stated to Plaintiff. These saJne law¡rers were and

  remain üerrified   üo   get involved, fearing retaliation and retribution

  for sta,nding up to the cornrption a€ainst such powerîI people, as

  Defendants StephenA. Om.an, formerAsst. Secretar¡r of State,

  David Craig Oxrra,n, Trust & Estates lawyer at Davis PoIk &

  Vllaædwell, and   Phyllis Statter Oxma,n, philanthropist, a¡rd
                                                                 "Iohn



                                       l5
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  Craig Oxman, Global Head of Aerospace at Credit Suisse. These

  Defenda¡rts have a tremendous a,nd powerfi:l global reach of

  influence, connections and massive fortrrnes. They are to be feared.

  Plaintiffhas been ba,mboozled, force-fed lies to arrive at this point of

  truth, after fact-fÌncl'in$ and searching for more than a decade. It is
  rrnfathom¿ble   a^nd   impossible to describe thebetrayal Plaintiffhas

  endured and the suffering the children have endured. Plaintiffs
  *ormn attorneys, the high-pnofile lawyer, PAI/IELA SLO"&II et aI, had

  only one agenda, it appears - to DECEIVE THE COURT - andtake

  more $600,000 in fees, directly fncm "a deal" Plaintiffs attorneys

  made \Àrith Defendant, .Iohn Craig O>cna,n, that theybrazenly

  "memorialized" in a letter. Besides cash, there would certainly have

  been,   it can be assumed, wink   a¡rd nod "offers" of Quld Pnc Quo     in
  legal work (M&A work, etc) given to the firms as part of the "deal"

  as in the case of Blank/Rome's "vüillingness" to lie under oath, as the

  risk to do so is worbh it to them as a large fi.rm who relies on Credit

   Suisse, Morgan Stanley, HSBC, etc., for global business. As Jud€e

  Drager said, in Ja,rruar¡r 2016, to Attorrrey F,iesel about Blank/H,ome

   (in the court transcript             eO16) "Blank/F,ome has an office in
                            "Ia,rruar¡r
   everlr corner Ín ühe wor1d". This was stated prior to the release of the

  Panama Papers, which makes        it more suspect,   as   it appears there is
   a direct correlationbetween Blark/Rome, Davis Polk &Vtlardwell

   and the Pana,rna Law Firmbehind the Panama Papers, Mosack



                                     t6
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  Fonseca     LLC. A steady strearn of investment barrkers keeps global
  lavrr   flrrns tike Blank/B,ome global, feeding into flrms such as Mosack

  Fonseca a^nd others. They can't afford to obey the law,        it   can be

  inferred, when a m4jor WaIl Street Ua¡king family, such as the

  Defenda,nts, the "Oxrna^ns', has hired' them to do just that - lie      ulder

  oath, upoll. informa,tion andbelief. Attorney Sheila Riesel is

  unconcerned that her "Ianua,r¡r 2016 Affìrmation before the NY

  cou-rt is atleged here as complete perjury. The benefits outweigfh the

  risks.

i!7.        However, onthis exact SailLe date, "NOV     I   A006", the date that

   the Note of Issue is stamped, absolutely shows the attorneys for the

   Plaintiff are alld.remain "Ilerma,n SLOAII Robarge & Sullivan"'             It
   says so, right onthe BlumbergNote of Issue form/document. The

   nexb "cohort" of "related" documents ALSO sta,mped "NOV              I Ê006'
   are authored by the firm Mayerson Stutma¡r Abramowitz & R'oyer' a

   firm never retained by Plaintiff, Ellen oxman, and they, on the
   EXACT SAME DATE of "1 NOV eOO6", cheekto jowl, submit                 a¡

   overwhelming amot¡tt of documents, unbeknownst to Pla,intiff' that

   whollycontradict,      a,re   in direct oppositionto the Ïlerman SLOA¡Ï

    Robarge & Sr:Ilivan "Note of Issue": a€ain, the Note of Issue is the

    docqsrent to be formafly submitted to COMMENCE a triat at

    Ptaintiffs "request", a"s opposed to the "Stutma,n Stack", which not

    orìly end.s the allegedlitigationbefor€ the Cor¡rt, it implies clearly



                                         t7
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  that this is a¡r IINCOIiTESTED "LIIIGATION", brrcught to an end

  BEFORE reaching     trial, by a SeüUement Contract/Stiputation to
  Settlement, also allegedty signed by Plaintiff on R7 October eOO6.

  The Defendant, elohn Craig O:onå;n, and the other Defendants, knows

  that the courb file (documents) in New York, in these matters, is

  sealed for lOO yeaxs. The risk of the facts beingbnrught into the

  Iight of day are zero to none. The Defendants have no fear. They are

  not worried that they maybe subjected to Bra¡rdeis's quote "Su-nlight

  is the best rljsinfecta,rrt". The Defendants are cerüain these

  documents will never see day light, and cludge Drager, by virtue of

  threatening Plaintiff with Civil Contempt for "talking", thereby

  deprives Plaintiff of Constitutionally protected rights of Freedom of

  Speech, deprives the public of knowing how this "secreü" court

  englne runs. It's rrnder the hood, and the hood conceals the     en6g_ne,

  the sealed and altegedly forged docr¡ments. The "hood" is welded

  shut, bylaw, in NY, for IOO years. It makes "sealed." cases ripe for

  fraud and forgerSr, one can reasonably assume.

e8.     These conflicting docr¡ments and different law fÌrms brings to

  mind the analo6gr "the operation rivas a success but the patient is

  dead." It's alleged that this was preciselythe Defenda,nts goat    -
  "successful sr:rgery" (alleged fraud and forgery) nesrfting in a

  corpse. In short, illicit proceedings ürere held to issue a rnå,ss of false

  certificates (as in the Greenwich Quitclaim Deeds). No legitimate



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  documents exist; false instnrments were "created" a¡rd submitted at

  court proceeding¡s where the Plaintiff was not present, not aware, did

  not know two (3) law firms were "competing" to "represent" Plaintiff

  onthe verysaJne day, 37 October eOO6, in awaythat shocks one to

  the very cor€, not ima{Ining such courb "events" and "proceedin6fs',

  pure fiction, worfdbe held forth as fact, for an urrinformed public to

  swallowwhole. It shocks the conscience, is a€ainst public policyin

  any civilized nation, arr¡nruhere on earth,let alone inthe United State

  of America. It's a   brutality   of which the public can have no

  knowledge, as has been made clear. But what you can't see can hurt

  and damage you and your child¡en very much, lea,ving you for dead

  in your own life, not knowing one has been the victim of a "vampire

  court process". That's what is being alleged in this document. It's a

  Bait and Switch Game of law¡rers and go-betweens who pretendto

  represent one client but are, in actuality, working the other side of

  the case, in illegat tandem, the courb itself involved in the action.

  That's the very definition of Fraud Upon the Court, the Court itself,

  throwing sa¡rd into the very machinery of the courb system, and how

  it firnctions.
e9.       Disturbingis the Defendarrts "The Oxma,ns" have spnrngfrom
  grcat privilege - an upbringfing in a wealthy community in Short

  I{ills, N"I, where their father was a dentist, a firsü generation
  gentleman, whose family escaped pogIrlrur in Russia and made sure




                                      t9
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 hissonsaütendedPrinceton,YaleandMll.ofPhyllisStatüer
 orcna,n,she,too,comesfromal}even.mor€privilegedbackgrr¡und'
                          *Robber Baron Fortu¡e", an american elitÍst
      h.eiress üo a great
  as a,,

  oftheoldschool'spnrngfromthepa€esoftheSocialBeEþter,with
  fam:iryandfriends€la,ftedontoaristocraüicBritishfamilies,tobe
        in         peerage. rndeed, her g¡eat €Farrdfather traded the
  found    Bnco1<s

                                      string of pearls'
  Cartierbuifding on 5tn Avenue for a
           To restate: On Nov 1' eOO6
                                      TIIE EXACT SAME DATE'
õO.
                                            to be starrped, a rr[ftitude of
   Attorney Michael s. stutman, submits

   d.ocuments to END liti$ation,
                                  (not coMMENcE litigation as Ïlerrnarr
                                                1 eoo6, the very same
   & Sloa,rr did on the exact sarne date,Iitov

   då,Y). See EXHIBII   Dl
                                              stamped "FILED NOV
51.        Attorney Stutman submits ajud$pent
                                    N'Y' CO' CLK'S OFFICE - a)
    OI AT 2:3?PM (handwritten) 3006

    Jud$InentofDivorce(alsostampedadditionallyon"NoVoeeoo6"
    with*initials'JR,(JamesF,osetti)'\ÂIÏrereitsays"serviceofacopy
     ofthewithinisherebyadmittedDate-Si€nature-'it'sblank-
                                        one (r) of these documents
     neverserved. on anyone, TÏIE oNLII

     referencedandseeninthecivillndexMinuteBooklnquWasll/
     O1/A006(#AO)as*FILED"isthe"Judg¡ment"'butwithnoNoticeof
      Entry,NoAffidavitofService,(Sewerservice)asshorfdbemarked
      inthecivillndexMnuteBookTnquiry,theledgerforCourf
      d.ocuments,asitwere'availableforpublicscnrtiny.Thenexbpa€eof


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   this "eludgf,nent document" goes on to describe triat dates that            vyen-ô

   never "legar", a "sham" triar, as explained above, as they were never

   put on the legitimate trial calenda¡ by a Note of rssue, as a€ain, is

   ciearly shown above. Events described on the pa€e did not happen,

  nor was a stipulaüion to settlement/contract, as mentioned, siEþed.

  by Plaintiff on october 2?, eoo6, as described by stutmåJì and his

  cronies in this boglrs eludgfnent. A plaintiff has a legat right to

  participate in her ourn litigation, but Defendants ar€ a,lleged to have

  deliberately deceived the court and fulty sidelined Plaintiff, denying

  Plaintiff access as to what they \,vere "doing", which is Deceiving the

  Court and the public by üheir ailegedly illegal conduct.

6P.      The Judgrnent is void before the law. rt was never seenby

  Plaintiff, no settlement contract was sigþedbypla,intiff, on october

  e?, eoo6 o"    ¿r^ny   other daüe, ever. The crudgrnent was never SERVED

  on Plaintiff, but   it atl pretends to be "done" by Plaintiff,    as if   plaintiff
  is the *w-jnr.er' in this litigation, a,nd Defendarrt,           crai€l oxma¡
                                                           "roha
  "the loser".   rt's sleight of hand. Fraud is aleged. rt's void ab iniüio.
  a void Judgrnenü mearls that which is void from the beginrring

  remains void forever.

63.       FÍndings of Fact conclusions of Law, stamped "FTLED Nov                 ol
  EOO6 COIINTY CLEF,K'S OFFICE NEW YOF,K". AgAiN,              it   dOESN'I EXiSI

  in the court Record. - iü is not listed in the civil rndex Minute Book

  rnquiry- it's void. service of a copy of the within is herebyadmitted.



                                     2t
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 DaterìSi€nature-allblank.VoID.It'sfraud,void.abinitio.Iü'
                                                    Nov 2006 and
  too,like the "Judçynent" is taken out a6lain on 2
                                                    unclea'r, but it is a
  restamped "Nov 02 eoo6" for reasons that are
                                                          and ur¡Iike the
   document that Plaintiff never saul' never authorized,
  *Jud.$rnent"   it   does not exist in the courb F,ecord, not
                                                               listed in the

  civil Ind.ex Minutes      of the   court clerk, arrywhere. There is no Notice

  ofEntry,NoAffidavitofService'sewerService'Void'
            Affld-avit of Re$.rfarity sta'mped "FILED NOV Of
                                                             A006
!l4.
                                                 Michael stutma'n
   cour',rY cLEa'K's oFFrcE NEw YoF'K" signed by
                       Mayerson stutman abra,urowitz F,,oyer LLP' not
   onbehatf of his firrn,

   tobefound',butshorr]d.be,accordin¡¡tothelaw,iltheCivitlndex
                                                        service of a
   Minute Book Inquiry- - the d.ocument does not exist'

   copyofthevvithinisherebyadmitted'.DaterlSi€pat'ure--
                        Affldavit    Of   serwice - it's sewer service' It's   füly
   bla^nk, void,. No
                                                            could have
   invatid service of a fraudulent d.ocument that Plaintiff
                                                     avera€e public
   never consid.ered - how coutd arrymember of the

    thinkthis    is possible?   It seems tike madness, but it appears this is
    *business as usual" for these officers of the court, aJld their $o-

    betweens.

 SS.AI'FIDA\rIToFPLAIT\IfIFF_PlaintiffneversawtÏris
                                                   October 20O6' (but
    d,ocument, ailegedly si$ned by Plaintiff on 2?

       sLoAN'S flr:rn, und.er oath, claims they were the
                                                         fÏrm representin€i
                                                          of Plaintiff'
       the Plaintiffon Ê? october Ê006). Inthis affidavit



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  Attorney Michael D. stutman is both the witness AND the law¡rer,

  falsely claiming Plaintiff siEþed, but Plaintiff was not present - note

  these details, seen on p. 5 (true and correct coples of p. 5 swom to

  on ê? October eOO6 a,nd p, õ sta,mped "FILED NOV Of 3006 COIn\¡Ty

  CLEA,K'S OFT'ICE NEÍV YOF,K" again, concosted by Mlchael D.

  Süutma¡ and his firm, is annexed hereto as part of EXHfBff           Dl
  Mayerson Süutman Abramowitz F,oyer LLP. Like the "others" it's

  stamped "FILED NOV OI eOO6 COUIüIY CLEF,K'S OFFICE NET¡I

  YOF,K" signed by Michael Stutman for his          firm Mayerson Stutman
  Abramowitz F,oyer LLP service of a copy of the r/ìrithin is hereby

  admitted   Dated          Si€nature_             it, too, is Sewer Service,
  rNVArrD sEF,vrcE never admltüed i¡to tJre cor¡rt record'          d.oes   not
  e:dst inthe Court minutes, Plaintiffnever sarvthls document until               it
  was found around 3or     l,   a,fter an audit of the fÌIe was nequested, and

  T¡rith a forensic document examiner, in the courthouse d.ocument

  room, the documents were seen, sca,rrned, but not rrnderstood bythe

  PIaintiff....they are not legal, they don't exist in a¡ry court

  proceeding, they a¡e false instruments, false certifi.cates tnre and

  correct copies of these docr¡ments sta.mped EILED Nov 1 30o6 are

  an¡exedhereto as EXEIBII         DI     This is identitytheft, a cause of

  action under Federal law and the lavys of the Süate of Connecticut.

36.     Court Appearance information from Web Civil Supreme,

  publicly available web site for Court inforrnation for I¡rdex No



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  õ60A16/?,004 note "Appearance Infor:cnationn         aü üop   of page   2-   a

  trle   and correcü copyis a¡nexed hereto as EXHIBII E whene             it ca¡l
  be seen onLO/24/eOO6 SUPREME TRTAL STATUS CONFERENCE

  HELD Ê:õO. Plaintiff, Ellen Oxma,rr, was not there, had no knowledge

  of this "status conference', ü/as not     told, "not included" in the
  "status conference", not informed there was a "status conference"

  held on this date at that time. This is a clear denial of Due Process

  under the Constitution, to not inform the Plaintiff that cou¡t

  proceed-inE¡s    that will define her life and that of the children of the

  marria{ie are being held without her knowledge or consent. Plaintiff

  was not     avv¿ùr€,   not present, andwhat lawyers were "representingn

  Plaintiff? Those of record, again, rema,in Herman Sloa¡r Robarge &

   Sulllvan for Plaintiff. Itrbher, nexb on page 2, a true a,nd cornect

  copy is annexed hereto as EXHIBII E - the date 1O/5OleOO6

   Supreme     Trial cludgnent     Gra,nted LO/6O   cclo/õI   COMI D TF,IAL.

  PLÀNüTIFT'WÁ"S NOT NOTIETED WAS NOT PB,ESEI\¡T HAD NO

   KNOWLEDGE OF TSESE COIIR,T DATES AIID DOES NOT KNOW

  \,\rgA:f LATI]"ÍERS WERE'TElIlfùE'. This is a clear denial of due

   process.

õ7.       Still, unseen documents keep showing up in other states, as

   with the Greenwich Connecticut Quitclaim Deeds, not seen by

   Plaintiff until2OI4. Tnre a,nd cor¡ect eopies of the Greenwich

   Qr¡ltclalm Deeds and tJre Expert Opinion Report ane a,nnexed hereto



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  as E5(ITTB,[T F and there are         fi¡rther documents,   as yet ulseen, uporl.

  information andbelief, in other courrtries and different jurisdictions'

  including but not limited to indications of holdings in the Pa,na,ma
  papers. The criminal IRS came to Plaintiffs door, a¡rd Plaintiff let

  them in, not knowing what to do. The a€ents asked the PlaÍntiff

  about her si€Fature(s) on d.ocuments that were off-shore, and also

  asked about the na,mes of the witnesses on said documents. The

  witnesses were knownto Plaintiff, but Plaintiff never sigþedthese

  documents,         a,nd.   the witnesses worked for Defendarrts, John Crai$

   Oxman, Gerald Lod$e and Brad¡rDouga¡, at Crredit Suisse at               I1

   Madison Ave NY NY - ¿ ssnflict of interest, but more tha¡r that'

   Plaintiff atleges fraud, states categorically it's forgery, a¡rd it is

   hidbg assets, it would appear, r:¡der the umbrella of Credit Suisse,
   as Some assets were shown to be in the IsIe of Jersey, rrnder the

   crown, but not part of the clÐwn, where Credit Suisse has a ma,jor

   presence because the Cha¡rnel Isla¡rds do not answer to the British

   parlia,rnent, but are sta^nd alone as a protectorate, which takes on

   new meanin€l after Brexit.

õ8.        Despite the fact that these were joint assets, Defendants, "The

   Oxmans", harbored a hatred for the Plaintiff, of which the Plaintiff

   vrras ar ra,re,   but could not do a,rrything to stem the tide of their hatred

   of Plaintiff. Plaintiff suspects it wa's, in parü, her relig¡ion' as a

   practicing Catholic. Plaintiff raised the two children of the ma¡ria€e



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  as Catholics, through Narnia classes, baptism, communion,

  ConfTrrnation, etc. Defenda,nt John Craig Oxrnan was wont to call

  Plaintiff names like "mackerel snapper" or "papist" as he was not

  raised as a Catholic, nor was anyone else in the immediate fa,rnily on

  Defenda¡rts' side. Issues of paternalism and domestic violence r\rer€

  traumatic for Plaintiff and her concerns for her child¡en ïvere

  colossal. Defenda¡rts "The Oxm¿,ns" do as theywish. They have

  huge power and a need to dominate a,nd contn¡l women a¡rd events of

  slt sortr, political, academlc, banking,iournalistic, Boards, i.e.

  domina¡rt alpha-male power a¡rd control at the expense ofjustice.

  This is the domina¡rt culture of Wall Street and IÂrall Street law fÌrmso

  a culture which trickles down into the lesser courts whereby most

  litigation in the US occurs - family courts, sltrrogate courts, et aI.
õ9.        None-the-less, at no point was Defenda,nt
                                                       "Iohn
                                                               Craig Oxman

  required, as is the law, to submit a legal and proper Statement of Net

  Worth, not once. Defendant,             Craig OxmåJr, was allowed to
                                  "Iohn
  claim joint property as Defenda,nt's alone, which was false. Nothing

  T\ras   ever valued, only stating "TBD" mearring "To Be Determinedn

  but it never was, since ühis was all about perpetuatingf fraud.

  Plaintiffs lavryer,   Pa,rnela Sloan,licensed   in Connecticut and New

  York, stood to the side, watehing, as they collected enormous fees to

   do   nothingto protect Plairrtiff and Plaintiffs children. Pamela Sloarr

  and her firm are fiduciaries, they have a legal obligation, but they



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  don't caI€. \Afhy should tbey? True a,nd correct copies a¡e Annexed

  hereto as EXEIBrI G - the documents for Statement of Net Worth'

  pages, which wer€ never le$ally fllled out even in 2OO4, but by law

  theywer€ to be updated, and that never happened a¡rdthe "TBD'

  remains to this day, d.enying Plaintiff the ri€lhts to her own property

  and" assets, bv     fraud committed by the Defendarrts (The oxmans).

  The Defendants, (The oxmans) appearto be the captains of this ship

  of fraud, a¡rd the other Defendants smoothly did üheir biddin6¡, for

   reasons knownto them. "JudE¡e" saratee Evans was "rrninvolved"               in

   this case before her, "capitulating" to Defenda¡rts, for reasons known

   to her.

40.       At no point was Plaintiff notified that proceedings wer'e being

   "held,"; Plaintiff was not informed, deliberatety denied access
                                                                   to

   justice,   il   her own lawsuit. Plaintiff was not told of the Court

   Conference of Octobet ¡,.4,2006, not present. Plaintiff was not told of

   "Jud.Eynent glanted" on 50 october 3006. Plaintiff had never
                                                                            hired

   Mayerson stutma¡r Abramowitz & Royer, as they themselves

   admitted. True       a,nd.   cor.rect copies of Stutma¡r's letter to Peter

   Bmnstein, dated Nov 14, A006 a,nd fax of 11/1L/n/are a¡¡exed

   herreto as      EXHIBII H. The judge in the matter Saralee Evans had

   never filed a legitimate Oath of Office. "Judge" Saralee EvaJrs, vlras'

    upon ir¡formation and belief, "placed" in the Courthouse as a "ring¡er"

    in order to "frx" and. "rig" litigation. Saralee Evans had no neason to



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  take the administration ofjustice in her courb seriously, to uphold.

  the   law.   To amplify that alegation, tet it be noted that the iltegal

  Note of Issue to comrnence a trial for Plaintiff is faxed. on October õO,

  3006, 9:55 aM to the cou¡b clerk of Manhattan supreme courb,

  indicating it was to commence a Triat without jur¡r (box thus labeled

  has a¡r "X") and the law¡rerc in the m¿,tter are clear: "Attorneys for

  Pleintiff(s)   rrerma^rr sI,oaN Robarge &         srfltvan, LLp 60 East   42no

  street NewYork NewYork 10165. The Note of rssue stamped

  "FILED NOV OI EOO6 COUTù]IY CLER,K'S OFFICE NEW YOF,K" bUt

  again, not in the court's minutes. rt carrnot be stressed enough. The

  public has a solid right to know what is going on in these secret

  coruts.

4L-         on Nov 5    eoo6 t loõeoo6         The civit rndex Minutes # 4 - L6

  refer to a ma"ssive a,rnount of documents. Tme a¡d correct copies of

  the civit rndex Minutes a¡nd ühe related. Triat Docr¡menüs, a,re

  annexed hereto as EXHrBrr          r.   The witnesses submiüted no reporbs,

  as required by law, (reports must be handed in in advance of triar....)

  and David craig oxma;n, Esq. a witness for Defendant, is John cralg

  oxman's brother, Plaintiffs "bncther-in-law", and rrncle to the

  children G.G.o. and     vtr.cr.o, is also   the Trust & Estates attorney for
  Defenda¡rt,
                "rohn
                        crai€ oxman, Trust & Estates lawyer for plaintiff,
  Ellen Fister oxmån, andthe Trust & Estates attorneyforthe infant

  children G.G.o. and w.cr.o., creatingtnrsts forthe children, without



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  the knowledge of the Pla,intiff. AIso a witness for Defenda,nt is Dia¡re

  Carol Troup, who also hands in no report, and is acting as a go-

  between in this ma,tter, upon information a¡rd belief. Noteworbhy is

  these are documents that are to be handed in far in adva¡rce of any

  trial, far in adva,nce of anyNote of Issue being filed, since the Note of
  Issue is to "veü" that which goes before the court for a trial, and the

  Note of Issue must be done in triplicate, entered into the court

  record, a,nd serrred by Affidavit of Serwice, as is legally required and

  is demonstrated clearlyin EX. C. The legal nequirements for           atrial
  to be coñrrnenced did not happen; the trial that was "held" was to

  trick the public, trick the Plaintiff,   DECETVE THE COIIF,T    but
  privileged lawyers who work at top lftlhite Shoe Law Firms, such as

  Davis Polk &\ffardwell, Shearma,n & Sterling, Cravath, etc., are not

  held to any code of ethics. This is a€ainst public policy.

4?.      A-LSO: to contrast the date FILED NOV       I   eOO6 = Noüe of fssue

  byllerman    SLOAN Robarge & Sullivan, to "commence" a Trial           for
  Plaintiff; NOV I A006, Attorrrey Michael D. Stutman, on the s¿rme

  day, tr'ILED NOV   I   eOO6, submits massive documents to END         A
  MARRIAGE - Affi.davit of F,egfarity, Affi.davit of Plaintiff, Affidavit

  of Defenda¡rt, a€ain, nowhere to be      foundinthe Cou¡t's Civil Index
  Mirrute Book Inquiry. They a¡e not legal documents, they are

  phantom docu-rnents mea,nt to deceive the court, they are frrlly false

   certificates, judgynents, andbeyond. They are void, void ab initio.



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 43-             BUT on õ November eoo6 the     civil r¡dex Minutes # 4 _ r5
      refl,ect   fully r3 categortes of document^s that wor¡]d have/shor-rrd
      havebeen Triar Docr¡nents....and therefore
                                                 must be submitted
      PRroR üo a triar being coMMENcED, (a4fain,
                                                 the *shann' triar was
      "commenced"/herd. in Mareh eoo6, firrly eight (g)
                                                        months prior.
      This is procedurarly impossible, bizarre,
                                                   ilegar, r¡nethicar and void..
      rt is firlly Fraud upon' the corrrt, Deceiving
                                                      ühe corirb, \rrrith the
                                                                     "rudge
   as the Lead actor, but the supporting
                                         actors are p,,]ring the strings,
   as   it were, of a marionette "judge". rt wourd    be impossibte to describe
  the hurt, humiliation and. betrayar praintiff
                                                wil] carrSr to her €?ave in
  this matter, detiberately and needressly infricted
                                                      by the Defendants,
  who appear to be the very defÌnition of sarljstic,
                                                     vindictive,
  paternaristic cowards and bunies and
                                          row-down thieves with rrr¡r
  Leaglre educations, but no moral compass
                                              what-so-ever. That arry
  court functions in this way in the united states, .extraordina;r¡r,,
                                                   is
  at the veryreast. rf Deceiving the court is
                                              now *regal" then the
  pubric has a right to know what
                                   they are up a€ainst, to be i¡formed.
44'      Plaintiff, a€ain, who was not present, has
                                                    attempted to obtajn
  a "transcriptn from the "court dates" october
                                                  a4, aao6        eo/a4/o6
 and october 5o, Ê006 (Lo/ga/o6) from the
                                             court reporter of those
 dates, as praintiff was informed the neporter
                                               for those two (Ê) days          ,
 said the r{ead crerk, crames Rosetti, tord      praintiff that on (october
 P.4,   eoo6l october 5o, aoo6) the co*rt reporber
                                                   was Mild¡ed.



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  Angiulli, buü llv[rs. Angiulti stated to Plaintiff that she "ca,rr't find the

  report, it's Iost". The fact is thene is no transcript. The fact is the

  documents r/vere illegatly concocted without the authorization or

  knowled$e of the Plaintiff, in collusion with the "Court". The Plaintiff

  was not notified, the Plaintiff was not pnesent. Plaintiff and her

  infant children wer€ crrrshed, fl¡lly denied their legal rights ulder

  the Constitution. Plaintiff was denied all of her rights and the rights

  of the children, under the pnrtection of the law of the State

  Constitutions of New York, Connecticut, a,nd several other

  jurisdictions and the Constituüion of the United States. Plaintiff was

  denied the verybasic right to protect her child¡en, whom she valued

  above all else.

45.       Ajudge has a dutyto act; s/he does not have "djscretion" to

  accept fraudulent documents by lawyers never admitted into the

  case at proceedings where the Pla,intiff was not notified and

  thenefore, be defìnition, could not be present; documents that bear

  plaintiffs "siEþature" but are forged signatures       of the Plaintiff.   A
  true   a¡rd.   correct copy of the forensic document ex¿lJrürler pa€es are

  an¡exed heneto and a¡e the invesüigation pa€es of a forrner NY?D

  forensic document examÍner, EX cf. Vffrile there is also another

  forensic document exanüner, Plaintiff has u¡derstood that they

  have been threatened, as has ühe Expert Witness in Nota^r5r Fraud.

  This is witness tampering, further den¡ring Plaintiff her rights.          In



                                      3t
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  this matter, upolt information andbelief, the judgfe, in deceivinE¡the

  court, connived, colluded and schemed\Mith Defenda,nts to aid and

  abet crirninal activity, to deceive the court, as "designed" bythe

  Defendants, clohn Craig Oxrna,n, David Craig Oxma,n, StephenA.

  Oxman, Phyllis Statter Oxma,rr, et al, with the County Clerk (Norman

  Goodma,n) iltegally si€nin$ documents of which the PlaintÍff had no

  knowledgfe whatsoever, one result beingthe illegal Quitclaim Deed of

  9 Paddock Drive, Greenwich, Ct. that illegally deprived Plaintiff of

  her pnrperby.

44.        Another recently obtained document never seenby Plaintiff is

  the "Certifi.cate of Dissolution" (the "Certificate of Dissolution"). A

  tnre and cor:nest eopy of tJre Certjficate of Dlssolutlon is an¡exed

  hereto as "khiblt K". The Certificate incorrectly states that
                                                                      "Iohn
  Craig Oxrnan is the "sole" resident of 9 Paddock Drive, Greenwich,

   Connecticut, as did the void ".Iud6f,nent". Ile was not; it's perjury.

  Plaintiff andthe legitimate children of the legitimate marriaSe,      ïven-ô

  also residents and had their personal property there, some of which

  r\ras   ovrnedbyPlaiatiffalone,(clothes,   as   jusü one example). They

  wer€ stolen by Defendants,

4?.        On March 16, AOO7, law¡rer for Defendant, David TSperrna,as,

   sent Plaintiff a letter stati:ng Ptaintiff, who "appeaned" to be

   unrepresented, had to comply with para€Þ,ph 18 of a Stiprlation to

   Settlement that Plaintiff hadnever signed. The letterwas



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  threatening, yet again. Plaintiffs houre hadbeen illegally seized,

  Plaintiffs propertyin the home, seized, a¡rdwhat was left \ras now

  to be thrown outbecause Ptaintiff "¡Mas in defarft" of a Settlement

  Contract that Plaintiff never sig¡ned, as T¡4permaas knew. He was

  perpetuating Fraud and Forgery and Identity theft, thncugh the

  mail, and across state lines. Atnre and correct copy of tJre

  Bronstel4fllpermaas letter, dated n¡[arch 16, ?OOT ls a.nnexed
  heneto as "Exlriblt   Kln
48.      PlaintifPs maiden narne is not "Fisher" as the document

  "Certifi.cate of Dissolution" staües. The document is missing

  Federally mandated inforuration, such as social security nulnbers,

  and there is no "Confìdential Information" as ca¡r be seen at the

  bottom of the page. It does not exist, so we don't know who obtal¡ed

  the divorce, or on what grounds, etc. The Board of Health in Albany

  IVY said   they "Don't' have access to that information" and sent me

  back to the NY Courts, which is why Plaintifffiled in December 2016,

  to clarify the facts. As we see, instead Plaintiff has been put u-ud.er

  an Order of Civil Contempt, which is a further obstrrrction ofjustice

  and denial of due pnocess, and   it        can be inferred that this is

  "business as usual" in ühis r€alm.

49.     ON NOV õ, 2006 Defenda¡rt,
                                              "Iohn
                                                      Craig Oxma¡r and his

  broüher, David Craig Oma,n, Esq., and Stephen A. Oxmån, Phyltis

  Statter Oxmå,n, et aI, wor:Id have known that the Defendant had



                                   ^t   -t
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  obtained an illegal EX PAÏ,TE Judgfrnent (of Divorce) a€ahst the

  Plaintitr, as per the documents in this filing (Ìil)(rrRIT I p. AÐ As ha"s

  been clearly shown, the Plaintiff had no idea of these Deceptive

  Court Events that occurred. On Nov õ eOO6 Plaintiff came home to

  find her "husband" (Defendarrt) €oin€ down the hall in herbuilding,

  he took a left, a¡rd went into the bike room, despite the fact he had

  been excluded from the building in eOO4 for assaulting Plaintiff.

  Plaintiff went in a,fter hirn, he stated he was there to "take the bikes"

  shoved her into the bikes, locked her in the bike rcom and left.

  Pla,intiff accidentally rlials¿ a friend, Christine T/\Iassersteino who'S

  Affidavit is included in this filing, and Plaintiff was told to call the
  Police, which she did.      Plai¡tiff was sent to the 8.R., and then
  obta,ined a Temporar¡r Order of Pn¡tection. Ttris       threwthe rats on
  the ship into a panic, it appears. The'Court', and all the cou¡t

  officers, a¡rd Defendarrts had to scrarnble, not that the NIIPD had

  served a Tempora,r5r Order of Protection. The Defenda¡rts retaliated

  by quickly drawi::g up      a,n   Order to Show Cause threatening Plaintiff

  T/'rith   arrest, in a¡r efforb to turn the game back to the fraud clock that

  was nmnin€f. Again, Plaintiff was the only one who did not know

  there was a cludgfnent of Divorce and Stipdations, etc. illegally "in

  play". Plaintiff, as has been stated, had been told her law¡rer, Pa,rnela

   Sloan and Sloan's firm, Herman Sloan Robarge & Sullivan had




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  "fired" her, so she was nowFro se, she thought. Again, Plaintiff did
  not know that lawyers cannot just "fine" clients on a whim.

50.       Illhat happened nexb was Plaintiff was mailed a Cerbified letter
  fr'om Peter Brcnstein and David Tlrpermaas, one            (I)   of two (2) law

  firms for Defendant. It appears they had to hatch a plan quickly to
  protecü thejudge, a,ndthe Court Clerk. Plaintiff wentto a Family

  Courb hearing ryith the babysitter for the children, Da¡ra

  Handelsma¡r. Fast forward, Plaintiff was "assigned", bVan expert

  family couft witness, Lisa Farr, a so-called domestic violence law¡rer,

  ,{my Salzma¡r. Salzman seems to have quicklybeenbrought up to

  speed on the Fraud. upon the Court scheme, presumably by Fa,rr, the

  expert witness for Family court. Agairr, not urrtil eOI           l   did Plaintiff

  see documents      that   vrrer€ sequestered   in the jud€les' chambers.      It
  appea;rs ühat in the need to cover the Fraud Upon ühe Court, a

  document was written by                   Saralee Eva;ns, on or about L/P,P./O?.
                                  "Iudge
  It was then faxed to Amy Salzman, who did not inform her "client",
  the Plaintiff, that this was going on behind the scenes. It was faxed

  on O1/2õ /AOAY and the law firm on the top of the pa,ge is Salzman's

  firm.   The   first "d-raft" of this docr:.ment called Motion     Seq #5 beings

  it's "shelf-life" as a draft faned arorrnd amongthe different parties,

  vrith Salzma¡r as the "document" glrl for Motion Seq. #5. It is fÌrst

  listed in the Civil I-ndex Minutes as "So Ordered Stiprfation" #ÊO, on

  OL/P,?/?OO?. Iü appears in its NÐ(T version as "Copy Served" then




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  Copy Order/Notice of Entry OL/?" /ÊOO? # 21 on the Civil Index

  Minutes, dated OL/24/P'OO7, the document is now Sta,mped "FILED

  qIAN E4 ROO? NE'IAI YORK COINVTY CLERK'S OFFICE". The VER,Y

   SAME DOCUMEI\II morphs into anotherversion, (all are called

  Motion Seq. No. 5), but each serves a "different" purpose. After mad.e

  into a Copy Order dated I/?"       /P,OO?   it (#eI) morphs into I/Ê5 /AOOY
  #Ê3 on the   civil rndex and it appeared fnrm the sequestered files in
  two (3) different versions    -   #eA OL/26/?oOO? one    (I) is sta,rnped
  "FTLED   JAII A5 aOOT NEW YORK COUr¡Tlr CLERK'S             OFFTCE) BUT

  it's FrNAf, LANDTNG rs that of #23 onthe civil rndex Minutes, dated

   0L/?,6/?'OO7 BUT NOW rT IS NAIVIED SOMETHING Dl¡'FEnEr\tT             - it
  assumes the tiUe of "ORDEF,IAS PALT 51 SEQ OO5 DEMED. #ee

  dated Of /?'6/2C'07 has two (2) wholly differrent versions on that date

  as is easily seen - Version   I   is merely sta,rnped "FILED JAN Ê5, AOO?

  NEW YOR,K COUIi]IY CLERK'S OFFICE. THE              FINAI   VER,SION OF

  THIS VEF,Y SAME DOCUMEI\¡II TIIAT SEF,VED forir (4) different

  purposes is lastly initiats on the side by an E f -e5-OZ , Stamped

  "F,ECEfVED CIAN 24?.'OO7 IAS MOTION SIIPPOF,T OFFICE and the

  fÌnishing touch is it's stamped FrLED in a completely different place

  and says "FILED .IAN 25 2OOT NEW YOF,K COIINTY CLERK'S

  OFFICE". It's purpose it to fully DECEilIE TIIE COIIF,T by the
                                                                       "Iudge
  and the lawyers involved in the maüter. Plairrtiff never saw this

  document   u¡til yeaxs later, as again, it was hidden/sequestered in


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  judicial cha¡nbers. It was nearly impossible to follow the logic of

  how it \,vas concocted   üo   DECEfVE TIIE COUF,T and inform       Plaintiff
  that "somehow" Plaintiff was divorced. This is tnre cou¡t conuption.
  If this is what they do for a.Iudgfnent of Divorre in a family of well

  over 5OO or 4OO million dollars, just to cheat the Plaintiff, it makes

  one concerned for those who don't have any ïvay to r:¡derstand what

  the hell is happenÍng....sorrJr for the language. The "Motion sequence

  #5 in arl of its "lterations" ls included a,nd a tn   e   and correct copy of

  all paSes as describedis annexed hereto as EXHIBF L, with the Civit

  Index "guide" in order to attempt to follow this "documenü" of ñ¡Il

  fraud, Deceiviag tJre Cor¡rb by the Court itself. A judge is not the

  Court.

5I.        In another sea;ch, Plaintiff carne across an invoice from

  Mayerson Stutman Abramowitz & Royer a¡rd it's dated Nov 5 2006

  and states "Meetingl/rrith Potential New Client" October 2, 2006, but

  Plaintiff would not have seen such a¡r invoice by Ê7 October eOO6...it

  makes no sense at all, except as criminal behavior. A tnre and

  correct copy of the bo$rs invoice is a,nnexed hereto as Exhlblt M.

52.        If a judgfe does not fully complyïyith the Constitution then her

  orders are void (Re: Sawyer, L?.4 U.S. eOO 1988), a¡rd therefore the

  cou¡b in which these (IIIegaI) "acts" have occurred are without

  jurisdiction, and the judge has en€a,€ed in acts of treason. This could




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  be said   for the cludge known    as Sa¡alee Eva,ns, by direct descent,     in
  A0IS/Ê016, to              Laura Drager, who ruls a similar courb...
                   "Iudg¡e
55.     This Courü has jurisdictionbecause Manhattan Supreme Court

  never had subject matter jurisdiction in the uaderl¡ring case, upon

  which the allegedly illegal Quitclaim Deeds ("The Greenwich Deeds")

  wer€ "based. Fraud was committed in the pnccurement of the

  jurisdiction of Manhattan Supreme Cou¡t (Fredman Brothers

  F\rrniture v. Dept of Revenue, log m, 2d eOe, 486 N.E. ed 89õ

  (1985). The NY "jud6fe", Saralee        Eva,ns,   wantonly ignored statutory
  procedure in the underl¡ring case in NY, Oxma,n v. Oxman hrdex No.

  õ5OÊ1õ/O4. (Armstncngv. Obucino, õOO m 14O, Iaõ (1921);

  unlav¡'ñrl activity of ajudge is a€ainst the Code of cludicial Conduct,

  andviolation of Due Process ("Iohnsonv. Zerbst,.1,O4U.S. 458, 58 S.

  Ct 1O19;) Res lpsa Loquitor, the "Courb" exceededits süatutory

  authority (Rosenstiel v. Rosenstiel å?8 F. Supp. 794 S.D.N.Y. 1967),
  but more to the poinü, the Court is alleged to have acted illegally, the

  judges and the other officers of the Court acted in concert,        in
  collusion to DECEIVE THE COIIRT and obtain an illegal judgrnent

  without the knowledge of the Ptaintiff, with the Plaintiff having no

  legal representaüior¡ for all intents and purposes. The Plaintiff was

  told she was Pro Se BIII, in fact, had a law¡rer, Pa,metra Sloa,n a¡rd her

  firtrr, who hadtold Plaintiff she was fÌrcd (a,ga,in on     I   September

  eOO6) a¡rd a mass of doeuments was secretly produced of which




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  Plaintiff, NOT a LAIÌIïEF,, corfd have had no knowledge. It wor¡ld

  take more than five (5) years to r:¡.dersta¡rd that the u¡seen

  documents were sequestered in judicial cha,mbers, rrnbeknownst to

  the Plaintiff. IIow could       a,rr   "umepresented" litigfarrt, with no

  experience with law¡rers or courbs, know this is possible?

õ4.        The Lavryer/Firm of Mayerson Stutma¡r Abramowitz Royer

  ïveß-â   never hired nor did Plaintiff ever authorize Michael Stutman,

  or his f:rm to "represent" her in ar¡y action at any time. Iùega,rdjng

  stutman, as already seen in Tlxhlbt E, stutman himself states he was

  not "in the case". Stutman and his cronies a,re so accustomed to

  deceiving the court a¡rd clients,          iü   would appear, that he *sent'

  Plaintiff an invoice, dated 6 Nov eoo6 (stutman never actualy sent

  it but put it in a court filing when yet another law¡rer, stanley alter,

  stepped in and said he'd ferret out the facts through a "legal

  malpractice action") - but it states clearly "meetingvvith potentiar

  new client, 2 October 2OO6n. Plaintiff never "recognized" her

  "potential" bybecoming¡ a client of Stutman a¡rd his fi.rm, Mayerson

  Stutma,n Abramowitz & F,oyer, yet they chaxged ahead, and                    their
  fÏrm's letterhead appears on everlr document from itlegally obta,ined
  judgements, contracts to Stipulation, QuitclaimDeeds in Greenwich

  CONNECTICUT., Coop Documents in Ma¡rhattan, New                       york, etc.

  Ptaintiff cannot islå€iroe what will float           üo   the su¡face next ïìrith

  Stutma¡r's    n¿ìJrre,   and his firm as ühe "headliner', a¡rd Plaintiff must



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  have "sig¡ned off" (forgery) on a gr€at ma¡ry "things", but by a firm

  never hircd by the Plaintiff.

55.      IT CANNOT BE STATED ENOUGII TI{AT ON Ê? OCTOBER,

  3006, IIERÄIAN SLOAN F,OBAT,GE & SULLTVAN SUBMIT A SWOR,N

  aFFrDAIIfr THAT THEY         F,EPR    ESETIIED Pr,aII\ITIFF ....."thror4þ

  october e?, eoo6o a,nnexed hereto is a true a,nd correct copgr of the

  Iferma¡r   Sloa^n   sworn Afüdåvit    -"EXEmIf    Iü"   it's   haæd to   fild the
  correct words to distilt what shourdbe clear - Herma¡r sl,oaN

  F,obarge & sulliva¡r LLP are stitt a fÌ¡rrr on this date, 2? ocüober

  aoo6, a¡rd Herma¡r states in    a.n   affidaviü (sworn) that the firm, on
  this date, Ê7 october 2006, was repr€senting plaintiff...BuT all of the

  documents produced - Afüdavit of Plaintiff, Affidavit of Regþtarity,

  Finding of Facts, conclusions of Law, eüc., are dated 2? october

  eoo6, but authored by a different lawyer ftom a different firm             -
  Michael D. stutman of Mayerson stutman Abramowitz F,oyer LLp.

  How can two (2) law firms be representing one (r) plaintiff, without

  the knowledge and consent of the plaintiff, a,nd concocting

  docrrments, ar,L oN e7 october eoo6, authored by Michael D.

  stutma¡r and his firm, but Ín a sworn statement, rrerma,n sloan

  F,obarge & sr:Ilivan state TrrEy represent       plaintiff on this very sarne

  date - Ê7 october 2006. Plaintiff was never in any offi.ce with these

  law¡rers, never in the saJne office as Defendarrt. This is fraud.




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56.     The Greenwich Quitcta.im Deeds, (Deed 1) were also

  "produced" on 27 October 2006.... Plaintiff could have no knowledge,

  certainly never sigþed said deeds ("Greenwich Quitclaim Deeds)'

  the notary fraud alone makes the deeds void and they are

  "executed" by Michael D. Stutrnan, on an altegedly forged

  instnrment. The Stipulations (6 or ?) are also allegedly forged

  instruments, sigþedby Stutm¿ilÌ a¡rd his firm, but plaintiffdid not

  siglr them, arrd, amazingly, to repeat,   a.'ll   were concocted on one (I)

  day - Ê7 October 2006, but Pamela SLOAlit a¡rd her firrn submit a

  sworn sfatement, an Affidavit, that Sloan and her firrn, Herma¡r

  Sloa¡r F,obarge & Sullivan r rere the firm. for the     Plai¡tiff on 2Z
  October eOO6. A true and cor¡ect copy of that          Afrdåvit by William
  Eerman for Pa,mela Sloa¡.'s ffrm', is a¡nexed hengto as Exllbit N.

57.     F\rrther, on the Greenwich Quitclaim          Deed.,   Michael D.

  stutma¡r signs as €üL officer of the superior courb of the state of

  Connecticut, indicating he is licensed to practice Ia¡r in the State of

  Cor:necticut. Ptaintiff has ascertained that Michael D. Stutma¡r is not

  licensed to practice law in the state of con¡ecticut, and nevervvas

  licensed to practice lalv in the State of Connecticut. Pamela Sloa¡r is a

  connecticut licensed lawyer, å.nd remains ühe attorney of recod in

  the underlyingaction, the illegat courü pnrceedings held in

  Manhattan Supreme Court, but affain, withoutthe knowledge of the

  Plaintiff, and by a law nir:rn Plaintiff never hired, and so they wer€



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  iltegally in her case conspiring rvith the Courb to deprive the Plaintiff

  and her children of the rnåxria€e, G.G.O. and W.J.O. of their rights

  under the Constitution of the United States, the right to due prÐcess.

58.        The cludgm.ent was secretly filed jn Ny, by Stutman, a tnre a,nd

  cor:neet   copf of tJre baßk of tJre docr:nent'Judgfement for Dlvoree" ls

  annexed hereto as TSrFrRff            O,   but never entered legalty in the Court

  minutes/F,eeord by Notice of Entry a¡rd Affi.davit of Serwice, as is the

  case   with   a,II of   these documents. Plaintiff has been to 60 Centre

  Street Manhatttan Supreme Cor:rt, Clerks'Desk, where Plaintiff was

  clearly told that the crudgfement while "filed" (without knowledge of

  PlaintiÐ      vrras   never served; No Notice of Entry, No Affidavit of

  Service, and therefore there could neverbe an Appeal of the

  cludgtnent because in NY, a cludgfnent must be filed, then there rnust

  be a Notice of        Entry,lrith   an Affidavit of Service in order for the

  "clock to start running' on aJÌ appeal. rn order for the Judgrrent to

  be "appealable", ühe Plaintiff, Ellen F"ISTEF, Oroan, would have to

  serrre   it on herself, and then make         su.re the   Affidavit of Service
  showed this, and then file it by Notice of Entry r/yith Affidavit of

  Service. THEN the Plaintiff cor:Id appeal her ownjud6lrnent, as it

  wer€. YUT, in a recent Courü fìling in Ma¡hattan Supreme Courb,
  Peter Bnrnstein, architect rvith Blank/Rome of all this alleged fraud,

  submits a document that is false, sewer service - illegal - it's            fifly
  fraudulent a,nd says Notice of Entry/AffÌdavit of Service Judgfnent of



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  Divorce COUNSEL TAKE NOTICE a¡rd he submits it                     T/ìrith   an Affidavit

  of Service but     this fraud - in the left hand lower corner, where the
  Counsel shouldbe named, there is no one there. The Affidavit of

  Service is a fake document, and since the Plaintiff is the Plaintiff,

  this is to be done BY THE LA\ ffERS FOR THE PLAINTIFF, not the

  DEFENDAI\IT'S FIRMS - a ürue and colrect copyof first pa€e of the

  false Judgm.ent of Divorce is an¡.exed hereto             a^s   EXHIBII      P and the

  court should note it contradicts the back of the                              of Divorce
                                                              "Iudgfirent
  (EXHIBII O) that Stutman illegallyconcocts without the knowledge

  of Plaintiff. There a,re an awfi¡I lot of lav4yers, multipl¡ring!like loaves

  and fish, deliberately deceiving the courb...for reasons knovrm to

  them. None of these documents ar€ legal, none conformto the law,
  none   an-ô   ser'\red upon Plaintiff, a¡rd so   Plaintiff could not have known
  they even existed. Plaintiff was told repeatedly "you are divorced.

  The judge put      it through, it's done."   Thene was never an allocution,

  and Plaintiff had never heard of an "allocution" until AOt                   I   or so.

  Plaintiff was asked if she had made an allocution to the court, and

  Plaintiff had no idea what the lawyer         \riras   neferring to, so he had to

  explain.      Of course,   it's not in the Court record either, because, it did

  not happen. Plaintiff was neve? notified by anyone that she was

  divorced, that she had "sig¡ned" a Settlement Document, that she had

  signed documents to srr"ender her homes on Quitclaim Deeds and

  other faJse Deeds. It's allegedly a perfect crime.



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59.     On the   NYCourt's own website, to instnrct the public, it states:

  "Notice of Entry: A Notice with a¡r affidavit of service stating that

  the attached copy of an entered order orJudgfnent has been senred

  by a party on another party.n None of the fraudulent documents

  wer€ tn¡]y and legally "FILED" into the Clerk Courü minutes, not

  entered by Notice of Entry, None rrer€ sent to Plaintiffby Affidavit of

  Service - it's "Sewer Service" - there vyas no attempt to deliver the

  documents to the Plaintiff in this case, as Plaintiff has clearly

  demonstrated. "Sewer Serwice" is invalid service, it is a Fraud Upon

  the Courü and the attorneys and the courts all knowin$ly

  parficipated in this invalid service, depriving Plaintiff of the

  knowledgie and facts of her case. It was done at the request of

  DEFENDAI\ITS ("The OxmaJrs") and the other Defendants, who acted

  as "go-betweens" in this matter, to Deceive the Courb, to Deceive the

  Plaintiff and the children of the ma,rriadfe. The facts are that the

  Plaintiff had no way of knowingthat Court proceedingls were being

  held without herknowledgle or consent or presence. Irrvalid Serwice

  of documents renders the Judgfnents a¡rd Contract/Stipulaüion to

  Settlement a¡rd related issues, such as the Greenwich Quitclaim

  Deeds, as null and   void. This kind of "fnaud"   ca.n never be ratifi.ed.,

  cannot be time-ba¡red, as void is void, noü a question of being

  "voidable". The concepts are in dia^metrical opposition - void is void.,
  does not   exist. Voidable means there are issues to examine as to



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  why something may or may not be "voidable". It's rrnicorrrs vs.

  Eþaffes, apples vs. or¿Lnges, ad infinitum. The cludgrrent, the

  stipulations to setuement remall a¡rdwilr always remain as

  fictitious documents - always be a unicorn, Void ab initio.

60.      The Facts are that the "Laws" in New                york were in no way

  complied     Trvith   within the dictates of the law in NY r¡¡der the laws as
  written. simply stated, the court andthe                 Defenda¡rts and his two

  (2) law flrrns, Bncnstein a,nd Bla,nk/Rome, co[uded to ignone the law,

  furly against public policy. The court and the ofnicers of the court,

  \dth full knowledge        of   their Deceiving the Courb (a¡r(t Plaintiff a¡rd
  the infant child¡en of the ma,rria{ie) knew they had to follow the laws

  of the State, a¡rd to süate simply the "Court" a¡rd the Defenda¡rt and

  the other offi.cers of the cou¡t ignored (illegally) ever]r single 1aw in

  the DRL of NY State a¡rd of Tra¡rsfer of Property in Connecticut and

  other states. rt's alleged as title fraud. The D.R.Laws clearly define

  the procedures. It renders the cludgirnent of Divorce in New York an

  absolute nuJlity a,nd therefore there r ras no basis for Plaintiffto have

  her home at 9 Paddock Drive Greenwich connecticut with its

  contents, iltegally taken from her, with her property inside, and

  those of the children, GGo aND           T/\rcro,   in furl violation of the 5tn and

  14tn amendments rÆith complete deniar of arry due process what so

  ever. rt's   a¡r   abomi¡ation. rt's illegat. rt's against all public policy
  and is abhorrent to arryRule of Law in a¡ry state in the United Staües



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  of America. The Plaintiffs only way to address these glrievances      ¿Lre

  in a Court of Federal cludsdiction, Connecticut being the most

  obvious, since the Greenwich Connecticut Quitclaim Deeds, cross

  state lines, making this a Federal Issue in Connecticut, Federal

  Identity theft, Wire Fraud, Deed Fraud, et al. It's a Federal Question

  and cllrris diction/Diversity.

61.      The Void and BogUs Divorce was obtaÍned iltegaltyby David

  T¡permaa,s, Esq., attorrrey for Defenda¡rt and partner with Peter

  Bronstein, who acüed on the instructions of David Craig Oxmå,n, Ese.,

  a close associate of Peter Bronstein, since they "collaboratedn on

  divorces in the past onbehalf of David Craig Oxma¡r's Tmst &

  Estaües clients at Davis PoIk & Vtlardwell, where Plaintiff was David

  Cra,ig Oxman's cLient. On Nov 3,?,C,A6, David T¡lperrnae,s wncte a

  letter as c¿ì,n be seen in the civil rndex Minutes - atn   e and cor:rect

  copy of the Civif Index Minutes a,nd the l-etter of Authorizatton a¡e

  annexed heneto as ffiHIBIT Q. Plaintiff assumes that Tfpermaå,s

  then somehow submitted something to Albany NY Dept of Hearth to

  obtain, it would appear, the Cerbificate of the Dissolution, but

  Plaintiff does not know how this lvas accomplished.

6e.     tr\:rthen, illegal trusts ürer€ set up by David Craig Oxman, trlsq.,

  through his fTrm, Davis Polk & Wardwell (also firm for Plaintiff a¡rd

  Defenda,nt)   forthe infa¡rt child¡en of the marri,age, GGO and.W"IO.
  The Parties'were never legally divorced, as is clear by the facts and




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  evidence presented here, which in no way points to arry legal divorce

  being obtained, and Plairrtiffwas in the da¡k about all of these

  matters, deliberately deceived by the Courb and the Defenda¡rt and

  the Defenda¡rts legal "entourage', many as officers of the courb, att

  T/rith   diversity as stated, since Ptaintiffis   a   NewYork resident, and
  Defendarrts a,re fnrm other states, as has been recited, for the cor:r!            in
  this Amended Compleint.

63.         In a most recent Court fiting (Februa,ry A016) Peter Bronstein,

  at the request of the DEFENDAT\ITS ("The Oxma¡rs") concocts yet

  another fake/fraudulent document that pretends the                             was
                                                                    "Iudglnent
  proper: a tnre a,nd correct copy of tJrls illegal ORDEn, WIrE           I   TICE

  OF EìIfF,Y is hereby a¡nexed as EXHIBII               F,   "COIINSEL: PLEAfIE

  TAKE trTOTICE" but there is no counsel on the pa,ge because Plaintiff

  was abandoned, Pro se, "fired" by Pamela Sloa¡r a¡rd her firm (except

  lawyers ca,nnot just fire their clients) Bronstein has m¿de up this

  document as well - it does not exist in the Cor:¡t fÌle, was never

  recordedbythe Court. Defenda,nts have caused Bnrnsteinto commiü
  Federal Crimes at their request, identity theft across state lines, and

  Defenda,nts ("The Oxma¡rs") know this, because they axe €Faduates

  of Yale L,aw (David Craig Oxrna,n, Stephen A. Oxman) and IfVA Law

  (clohn Craig Oxman), with Phyllis Statter Oxm¿¡r acting in collusion,

  upon information and belief, to hide marital assets in a Trust devised

  byDavid Craig O>cna,n, Esq. Again, to clarifyforthe court, David



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  Craig Oxman and Phyllis Statter Oxman, John Craig Or<rna¡r are

  Connecticut residents. Stephen A. Oxman is a New Jersey resident.

  David T¡permaas, Esq. is a resÍdent of Massachusetts. AII other

  Defenda^:rts named   inthis Amended Complaint have complete
  diversity fncm Plaintiff; they are not residents of New York State,

  and Plaintiff is a resident of New York State. This is complete

  diversity, as was already described in the opening.

64.     Plaintiff ñrther, upon information andbelief, has it upon good

  information, that Phyllis Statter      Or<rnan has   hidden måritat assets

  andthose of the child¡en of Ellen Oxman, Plaintiff, GGO and VIIJO, in

  a Foundation established by her mother, .&my Pla¡rt         Statter. A tme
  a,nd correct copy of tJre   AmyPlant Staüter For¡ndatlon and Tnrst for
  GGO andW.IO are heneb¡rannexed a^s          (Ex. S). Plaintiff, upon

  information a¡rd belief, has every r€ason to suspect that the

  Foundation contains assets of the Plaintiff and GGO and WcIO, in

  order to hide mårital rnonies in a corn¡enient vehicle established by

  Phyllis Statter Oxman's mother, in 1952. To clarifythe "Terms of a

  cludgrnent" in Man¡.attan Supreme Court, I. The judgþnent mustbe

  "put together" 2. The judglrnent must be stamped "Filed" õ.

  cludgfnents must have an A-füdavit of Service to gain a Notice of

  Entry, and 4. There canbe NO appeal, no notice of appeal canbe filed

  as per the courb's oüm description      until it's served legallyby




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  Affidavit of Service, then Notice of Entry, and only then does the
  Appeal Clock süart to tick.

65.        "Notice of appeal: a notice     üo   the opposing party that an

  appeal of the courb pnrceedings will be taken. The notice must be

  served a¡rd filed vyithin õO days of service of the order         orjudsþent
  appealed    fnrmwith T/IIRIITEN NOTICE           OF EI¡IIF,Y. .44¡ain, an    illegal
  judgf,nent was entered by Stutma¡r and his firm, at the request of

  Defenda¡rts ("The Oxma¡rs") andthe "judge" Saralee Evans, who has

  no legal Oath of Office to be a "judE¡e" and therefore was a

  TF,ESPASSER on the court, siEþed a Judgfnent in collusionruith

  Stutman at the request of the Defenda¡rts to fuIly deceive the courb,

  as organized by Defenda,nts ("The Oxm¿,ns"). Plairrtiff rras never

  SEF,\IED the    Judgnent of Divorce;
66,        Plaintiff, afüer failing to obtain a real law¡rer to tell her the

  facts, had to do so herself. I¡. this r€g¿ì,rd, since the "judE!e" without

  the Oath netired, Plaintiff wn¡te her own "Notice of Motion" askinE¡

  for Reconsideration/ etc. in December of ROI5, a,fter failing to obtain

  tegal help, and upon the instructions of the Dept. of Health in Albany,

  IVY,   where Plaintiff has attempted several times to obtain the ñlll

  Cerbifi.cate of Dissolutionbut as they explained at the Dept of Heatth

  inAlba;ny, NY \ue don't have       it.   We don't knowwhere        it is."
  Although manylawyers wanted to help, one said quite clearly "the

  judge is cornrpt. I cannot €iet involved. I vrill be disbarred under




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  some bogÞs action. That's how this     works." Plaintiff encountered
  this neaction repeatedly.

67.     Again, the tudge" (Evans) in the underl¡ring illegal

  proceedings in Manhattan Supreme Courb, appea;rs to never have

  "filed" a legal "Oath of Office": the laws to be found in this regard are:

  5 U.S.C.   38L,28   U.S.C. 54õ and 42 U.S.C. 198õ and   if the        does
                                                                 "Iudge
  not complywith these provisions, then s/he is not a ""fudE¡e" but a

  trespasser upon the court. Agair¡, this judge, upon information a.nd

  belief was   a "rinEfer' - a trespasser to aid a¡rd abet criminal activity
  of her fellow ofücers of the Cou¡t. Irr such a case, a "judg¡e" who is a

  'Trespasser" and has issued judgments, documents,

  pronouncements, and/or Ord.ers, all of which are then thereby null

  andvoid, byvirtue of the Fraudulent Oath of Office, since the "judE!e"

  is a tnespasser in the Court.

68.     UnderFederal Law, which is applicable to all states, the U.S.

  Supreme Courb stated that if a cou¡t is "without authority, its

  judgments and orders arc regarded as nullities. They are not

  voidable, but are simply void." This is the Federal Question and

  Diversity of Citizenship that is before this Court. I'URTHER, clud¿fes

  who do not report the crimjnal activities of otherjudges become

  principals in the criminal activiüy, 18 U.S.C. A Courb's authority to

  render the judgf,nent must have jurisdiction. The issue of pleadingis

  does not exist, because there ürere no pleadings submitted by the




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  lawyers in the underl¡ring New York case. It was all done Ex Parte,

  at the naquest of the Defendants, ("The Oxma,ns"). On October 27,

  ÊOOO    AIL of these documents were "produced" without the
  knowledge or consent of the Plaintiff, Ellen Oxma.n, and to nestate,      in
  a   later court fìlirrg, Herma¡r Sloan Robarge & Sullivan sigþ an

  Affidavit, ulder Oath, that theyrrer€ the lawyers for Plaintiff on

  October e7, eOO6. Plaintiff, who has been treated for a seizure

  disorder, handed in a letter in the previous filing, that her

  appointment to see the seizure specialist at NY Presb¡rterian was on

  Ê7 October Ê006, and the other medical letter clearly states       Plaintiff
  rì/as seen on Ê6 October 2006 for a serious medical disorder at NYII.

  One cannot say the Plaintiffsigned r¡nder duress, coerrion, or a,ny      of
  those "attempts" but rather, Plaintiff did not sign at aII, as is clearly

  shown    inthis document,   one ¿[ssumes, since ühere is no indication

  that Plaintiff ever hircd the firm Mayerson Stutman Abramowitz
  Royer LLP, because Plaintiff did NOT hire Mayerson Stutma¡r

  Abrarnowitz Royer LLP; no indication Plaintiff was ever notified

  Conferences and a cludgtnent was entered without the Ptaintiff being

  told of these court proceeding¡s, executed without the knowledge and
  preserì.ce of Ptaintiff, la¡ring the basis for Issuing a false instrrrment,

  the Greenwich Quitctaim Deeds, the deed Michael D. Stutma¡r

  "concocts" is a€ain, daüed ocToBEF,27, eoo6. Plaintiff was not

  present. Herma¡r Sloa¡r Robar€e & Sdlivan state in an Affidavit that



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  on Ê7 October 3OOO they wen-ô the law firm for          Plaintiff. The facts
  speak forthemselves.

69.       In order to proceed to trial, again, there must be, rrnder NY
  State   Laq a Note of Issue filed BY TIIE PLAIIüIIFF,        stating¡   that all
  discovery has been completed and the case can nowbe put on the

  Triat Calendar. There was never a Note of Issue filed legally in this

  case in NY, Oxman v. Oxma¡r, arrd so an illegal        trial was held with no
  pleadings, rro rljsssvery, no letters between counsel, etc., $ivingf the

  NY court no subject matterjr¡risdiction, as this is quite clearly Fraud

  Upon the Court, in every way inraglnable, done at the request of the

  Defenda,nts, ("The O¡sna,ns"), who are shownto be compleüely

  corrupt a¡rd not worthy of the lofty "status" they have attained on

  the world sta4fe, as lawSrers, bankers, "statesmen" and

  "philanthropists". Their crimes a€ainst the Court are crimes of high
  treason, and they   aæe   the insüigators as they desigþed a¡rd carried

  out this "litigation" knowia6! it was fraud,    a"s   they have long held

  enviable positions in   rry   League schools, a¡rd at ma.jor 1ìIalt street

  Ba,nks, including the interrrational bank, Credit Suisse, where

  connecticut residents, Michael urfÌrer, Brady Dougan (former rread.

  of Credit Suisse) and Gerald Lod€fe work or did work, both in the

  Connecticut offices, and other jr:risdictions, as the bar¡k's

  headquarters is located in Zurich, Switzerland.




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?O.        This 6surt has jurisdiction over this action u¡der Connecticut

  laws of False Light privacy act a,ga,inst all Defenda¡rts.

71.        This Court has jurisdiction over this action under Intentional

  Infliction of Emotional DÍstress.

?2.        This Court has jurisdiction over this action rrnder defamation,

  libel a¡rd sla¡rder. (EX Credit Suisse/Eric statements re: Mooney

  "she's   mentallyil,,")
76.        This Court has jurisdiction over this action under 42 U.S.C.

   198õ violation of Civit & Constitutional F,ights to life,liberüy and

  properby.

74.        This Courb has jurisdiction over this action under 42 U.S.C.

   198õ Civil Conspiracy.

75.        This court has jurisdicüion over this action under rights

  possessedby Plaintiffunder the Constitution - the lst Arnendment,

  the 4th Amendment, the 5th Amendment, the 6ü Amendment, and

  the 14tn Amendment of the Consüitution of the United States of

  America.

76.        This Courb has jurisdiction of this action under Title VII of the

  Civil F,ights Act pnrhibitÍng discrimina;tion based upon religion, sex,

  disability, a€e, race, et aI. Plaintiff makes these recitations to cla,rify

  that this venue is proper in this judicial district based upon

  Diversity, Federal Question, Disability rights, Fraud,           Oath of
                                                         "Iudicial
  *Iudge not being legitimate, making said Judge a trespasser in the




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  Cor:rt, denial of Consüitutional F,ights u¡der the Due Process Clause

  found in the Constiüution of the United States, violation of Free

  Speech and F,eligious Freedom          u¡der the lst Amendment, violations
  rrnder the 5ü Amendment, 6ü Amendment and 14tn Amendmento et

  aI.

'17.      As a practicing Catholic, having been raised in a convenü

  school, Plainüiff   caJ:r   no lon€fer partake in the sacraments, as in the

  eyes of the Church, Ptaintiff is ex-commu¡icated. Taking part in the

  sacrament of transubsüa¡rtiation is no longer something¡in which

  Plaintiff canbe included. It cannotbe too dissimilarto         a Jewish

  uroma,n who needs what is called a "get" in order to proceed              with her
  life within her faith. To deny Plaintiff the ability to negotiate with

  her church over her status within the chr¡¡ch is a ñl]l violation of the

  First Amendment.

78.      This is a Civil Complaint for Da,mages, Inclurling Declaratory

  and Iajunctive Relief.

79.     Plaintiff alleges, on hformation and belief , based ,     intß't   alia,   on

  Plaintiff   s or¡rn years-long,   penetrating investigation of Plaintiff s
  *file' in this matter; docr¡.rnents spread in a crafüy way between

  states, cor¡¡tries; marry still remain unseen, and as yet ulknor¡rm to

  Plajntiff, based upon personal knowled¡fe and belief. Plaifüffs rights

  havebeen severelyviolated andthose of the child_nen, G.G.O. and




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  VII.J.O. who   Plaintiff may not plead for in this document, sÍnce

  Plaintiff is not a lawyer, as the Court has already determined.

80.   Many, if not all of the documents/pleadings in this ma,tter, do not

  "exist" and there vüer€ further a,nd substantial "doeuments"
  sequestered     injudicial   cha,mbers for more than 5 years, wiühout

  Ptaintiffs knowledge, fnaudrfent docr¡ments rwitten by lavryers
  never hiredby Plaintiff to obtain an illegal result for Defendant and

  prior documents ïyer€ never "filed" to stage a sham triat in

  Man-hattan Supreme Court; theydo not exist as legitimate andlegal

  documents in the Court File, not entered legally by the Court Clerk,

  as required by    law.   TO RECAP:

81.   No Stipulation to Settlement Contract exists. There is no Notice

  of EntrynorAffi.davit of Service          forthe cludgment, which was

  "sig¡ned" without the    Plaintiffs knowledge or consent, by a law firm
  (Mayerson StutmanAbramowitz F,oyer) Plaintiff never hired. Irt

  terms of the "FÍrm" Mayerson Süutman et al, there was never a

  F,etainer Agreement nor a Clients Bitl of F,ights sig¡ned, never a

  Consent to Change Attorrrey fiIed in NY Supreme Court, etc. AS

  REQIIIRED BY LAW, no retajner a$?eement fiIed with the court, as

  required by law. In short, Mar¡hattan Supreme Court had no subject

  matter jurisdiction/no jurisdiction at all in this case, and never did

  byvirtue   of   fully defective and illeg¿l documenüs, of which Plaintiff
  had no knowledge, and could have had no knowledge, as they \Mere



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  done without Plaintiffs "inclusion". Plaintiffs siEþature was forged

  over a¡rd over on document a,fter document, includinEf but not limited

  to the Gneenvrich Quitcla.jm Deeds a,nd ittegatly notarized, as is

  shown in the Expert witness B,eport, fÌrst by Michael D. stutman on

  Ê7 October 2006 a¡rd then by Algela Florea of Credit Suisse, on

  October 9,2O1õ.

82.   There    rÀra^s   no tegitimate a¡rd tegal "tfiåJn held Ín this matter. Irr

  order to'commence a triar, there must be pnrper docr:ments fÏled in

  the Cou¡t, Pleadings, trlxperb Witness Reporbs, Discovery requests,

  etc. to be found in ühe court fÌle, in order to prepare and proceed to

  trial.   None of these documents exist, thereby definingthe legal

  "procedures", the very basis upon which the "Greenwich euitcla,im

  Deedn documents would have had to be based; instead alleged is

  extrinsic fraud. As the court knows, Fraud and Forgery cannot be

  ratified, what's void then and now, is void forever.

83.   rndeed, the "documents" leadingup to the Greenwich euitclaim

  Deeds ("The Deeds") are         fillyfraudulent, exist in no legar contexü,
  not identified (not recorded in the Court Minutes, known as the Civit

  rndex Minutes in Manhattan supreme court) as a document in the

  Court fÌle, No Affi.davit of Service, therefore pnrducts of "Sewer

  Serwice" which the Courb knows is "the fraudulent service of

  process", which is also the crux of ühe matterbefone the court.




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84.   "Sewer Service" is invalid service, the documents are never

  served on the party a¡rd therefore the party cannot know that the

  documents exist. Às ühe Courb knows, "Sewer Servicen is slan$but

  means there was NO SERVICE OF THE DOCIIMEI\¡IIS AT ALL, a¡rd no

  attempt was made to deliver them in a procedurallylegal method to

  the Plaintiff; Ptaintiff had no possibilityto know of their existence,

  and this is, of course, a given, just plain old common sense. AE¡ain,

  Plaintiff knows that "conclusions" are not the basis for this courb to

  review this case, but, the FACT AIONE is that "Sewer Serwice' is a

  Fraud Upon the Court, and the attorneys in this matüer, David Craig

  Oxman, Esq., StephenA. Oxm¿,n, Ese., Pa,mela Sloan, Esq.., et aI,

  knowingly participated in these schemes to benefit themselves and

  to subvert justice. It is a€ainst the law, it is a€ainst the Constitution,

  against public policy, it denies justice, is   ñfly illegal in any corrntry
  on earth. It violates the Constitution.   It is treason. It shocks the
  conscience of any normal person who wishes to see real law¡rers,

  real courts of law and real documents with real sigþatures. It's an

  abomination.

85.    Plaintiffcould not have had a,ny indication that her in-laws,
  uncles a¡rd aunts of the children of the maxria€e, Yale educated

  Lawyers, who "operate" in international firms, such as Davis PoIk &

  Wardwell, or Shea^rman & Sterling, or Clear¡r GottJieb, or Cravath,

  would practice *law'inthis lllegal manner, involving!anynumber of



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  "experbs", other "lawyers" to behave thusly, fuity shocks the

  conscience and is a€ainst public policy in every way imagilable.       rt
  cannot be stated enough, and while there is much prima facie

  evidence, Plaintiff knows the Court needs fuIly documented proof

  "sufficient factuar matter" as such because of the bar being re-set

  after the Supreme Courb "Ashcnrft v.Iqbal" nrling.

8ó.     Though Plaintiff is   prCI se    and has no educationbeyond the

  arts, and has hadto teach and studyand investigate the matüer

  herself , it's important to note that all of the expert witnesses in this

  matter, forensic document examiners, nota,rSr experts, have clearly

  indicated to Plahtiff that they have been threatened and intÍmidated

  for the documents they have prepared in this ma,tter. rt's important

  that the court know this. Expert witnesses axe being inüimidated

  andthis is witnesg fia.mpering.

87.    Plaintiff brings this action to vindicate Ptaintiffs Federat

  Constitutional F,ights that occurned in Cou¡bs of no jurisdiction, e.g.

  the State Supreme Cou¡t of lVlarrtratta,n, Family Court, et at.

  Defenda¡rts have acted in a ro€fue m¿ìnner in all things presented to

  this courb in this matter. Defendants have and continue to engage in

  a pattera a¡rd course of conduct that is against ühe Federal Laws, the

  Constitution, using the Courbs to conmit crimes rather tha¡r to

  obtai¡ and uphold the laws, a¡rd the practice of law. The Supremacy

  Clause provision in   Article Six, Clause   Ê of   the United States



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  Constitution establishes the United States Constitution, federal

  statutes, and treaties as "the supreme law of the la¡rd". It provides

  that these are the highest form of law in the United States legal

  system, a¡rd ma¡rdates that all state judEfes must follow federal law

  when a conflict arises between federal law and either a state

  constitution or state law of a,rry state.

88.    I{urnan Rights Treaties - the Universal Declaration of Human

  F,i$hts and the l-nternational Covenarrt on Civil a¡rd Politicat F,ights

  are both rendered Supreme Lawby virtue of the Supremacy Clause.

  States are PROHIBIIED to nullify federal law pursuanü to Arüicle          III
  of ühe U.S. Constitution. No Cou¡b sa.n     "predeterujne'a *w'ilrner',    as

  is to be seen here and demonstraüed on facts a,nd docu-urents to prcve

  all that has been stated so fa¡. Defendarrts colluded, conspired,

  schemed and falsified documents, facts and law, committing perJur¡r,

  sta€Ia'€ itlegal sham pn¡ceedin€ls, falsifying documents, to benefit

  themselves financially, ha,rass and oppress Plaintiff a¡rd the children

  of the ma,rriage, G.G.O. andW.J.O., byvirüue of extortion, putting

  children in crisis, inflicting pnrforrnd emotional distress on Plaintiff

  and the children of the ma,rriage, G.G.O. and W.eI.O. a¡rd engagïng in

  Schadenfreude.

89.     Defendants used netaliation, thneats of imprisonment,

  exborbion, as c¿tnbe seen   - On Nov õ, eOO6, Defenda,nt would have
  known he was "divorced" a,nd would know that Plaintiff had no idea.



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  Defendant, feeling powerful and "in cha,rge", caJne by Plaintiffs

  home, and attempted to steal the familybikes fncm the bike room         -
  a   trre and correct copy of ühe Fa,rnily Offense Petitlon, Affi.davit of
  Christine IlVasserstein, Allson Tu¡ner, Dr. Bitschnau and resulta,nt

  Bncnsteln "ORDEF,     TCI SHOIfi CAUSE"   illegatly labeled "court exhibit"

  inthe Civil l¡dex Minutes, is atta,ched heneto as EXHIBIT       T and

  exhibits clea,r and illegal coercive control against Plaintiff, acting in

  obtuse r rays to famÍly and domestic violence, iE¡norinE¡ and

  minimizingf it to subverb a,nd circumvent established principles,

  codeso and laws on    child abuse and domestic violence, for their ovrm

  financial gair., and need for power and control. Defendants provoked

  familyviolence in orderto subject Plaintiff and G.G.O. andW."I.O., to

  ongoing crisis and revictimization where theywould nequire

  Defenda¡rts' "intervention" which was illegal and tra,nslated into

  profit forthem. Defendants sought to pathologze Plaintiff a¡rd

  marginalize Plaintiff as a protective mother in order to subvert,

  enable, a,nd cover up child abuse; and terrorize, oppress and

  humiliate r/vomen. Defendants had clearly stated to Plaintiff that

  they would fuse the children G.G.O. and W.J.O., like bullets in a gun

  at the head of the Plaintiff'; arrd so they have, in order to gain

  financial advarrta{le by Fraud, Fear a¡rd Exbortion.

90.   Defenda¡rt, Diana Paine Alva¡es Correa acted as a go-between in

  order to wrangle the Plaintiff into the offices of her psychiatrist, Dr.



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  David Levine, and by neferral of David Cra,ig OxmåJr, Esq., Paine

  Alva¡es Correa had her oum divorce choneoglaphed by Defenda¡rts

  "The Oxrrang". In neturn    fortheir "patnrnage" in her matter, upon
  information a¡rdbetief, Defenda^nt Paine Alva¡es Correa acted as a

  elear go-betrveen in order to da,ma,ge Plaintiff for reasonr¡ known to

  her. Herman Sloan and Dr. Levine "confronted" Plaintiff \Mith
  "information"   E¡iven to them by Paine   Alvares Correa. I\Itren Ptaintiff

  contacted Paine Alvares Correa concerninEf clear violations of

  Attorney/Client privilege and breaking HIPPA laws, Defenda¡rt Paine

  Alvares Correa retaliated by severing "the friendship" by postcard,

  wherebyPaine Alvares Correa admits to committinglegal

  malpractice and breaking IIIPPA laws "on her nickel". A copy of the

  post ca^rd füom tJre Scill¡r Isles in tJre IIK, sent with intentlon to cause

  emotlonq¡ Cama€e to Plalntltris a¡nexed heneto as E)(HIBII U.

91.     F\rrthermore, Defenda¡rts are li¡ked to the Uanldng industry, as

  stated, a¡rd collude with cor:rbs a¡rd neal estate agents a¡rd others to

  defraud and cheat ühe Asrerica,n public out of their homes and

  properby, through all sorts of Íllegal and predatory practices, the

  "Greenwich Quitclaim Deeds" beingbut one ilL¿tneuver of this kind,

  wlrich points to the possibility of strawbuyer.

92.   The Greenwich Quitclaim Deeds are presented as a starbing point

  for the pu-q)oses of this document. Defenda,nts' infl uence,

  cornrption, a,nd methods promote and enable child abuse, child



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  pornoglaphy, human trafficking, and oüher dealings in obscene

  matter, to which Defendants appear to be li¡ked and/or personally

  involved. The destruction of civil and constitutional rights by

  Ka,ngaxoo Courbs such as Plaintiff has been ex¡rosed, is inimical to

  society as a whole a¡rd the Defenda¡rts actions a¡e a¡rti-American a¡rd

  üherefore treason. V\Ihen courbs fail to act with integrity             it is
  foremost br¡rdensome to the child and inimical              üo   their development,
  health, and well-being. It is nothing short of child abuse across

  international borders and state lines, which is what has happened

  here. Sloan, rather than pnrtecting the children,                h   eOO5, sent them

  off to Scotla¡rd ruith their father, alone. The tetter fncm Herma¡r and

  Sloan describing that   trip   a¡rd   their "fina¡rcial deal" T¡rith Defendant,
  John Craig O:cna,n, regaxding         s¿ìJrì.e,   point to schemes a¡rd plans

  designed to deceive the cou-rb, from the            start. Plaintiff could not
  have knovrm. Their default position r\ras, with libel and sla,rrder,

  repeat that Plaintiff was "mentally ill", which is not true, Plaintiff

  has no dia{þosis of arry mental illness at all, not now, not ever.

  Defenda¡rts have kept up a steady dnrm-beat overthe course of this

  action, stating that Ptaintiff is "mentally ill, delusional, etc. " as ca;n

  be seen in a Credit Suisse fax sent by Defendant, clohn Craig Oxm¿¡r.

  The Credit Suisse fax (one of hr-rnd¡eds) ls a.nnexedhereto ¿s Tlxhihit

  UI




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93.       R,elieffromthisCourtisthelastresortastheManhatta¡t
                    Ïrasbeenlabeled a "cesspool"
                                                 inthe Main Strea^m
      Supreme Court
                                                                     was
                                    the Judges in Oxmarr v' O>ana¡r'
      Media and at least one (1) of

      rrnd.erarrFBlinvesti$ation.Plaintiffhaslostvaluablerights,and
      timetocontinuetheloveandcarePlaintiffhadlavished.uponthe
                                G'G'O' andW'J'O' This is a quality of life
      children of the marria$e'

      experiencethatcannever'everber€gained'ThatDefendant's
       shor¡ldhaveobtainedillegal(thereforevoiÐJud€Inents,then
                                                  when Plaintiff had no
               Plaintiff in Plaintiff s own home'
       afiacked-

       possibititytoknowthatDefenda¡rtshadobtainedarri]]egal(voidab

       initio)Jud€Ïnent,butDefendantsknew'andüheircalculatedand
       i]tegalresponsewastofilea¡rExParteordertoShowCarrse(never

        serveduporlPlaintiff,whowasprose'NoAffi'davitofService'not
        recordedintheCourtcivillndexMirrutesasanordertoShowCause
        butislabted*CourtExhibit,butit'sanillegalexparteorderto
        ShowCausetocoverupcornrptionandd.ocumentsthatwerevoid,
        remainvoid.Ilow'a€ainthatarenotnowand.neverwereofa,nyforce
         and.effectbutwel€concoctedtoDetiberatetyDeceivetheCourü.

         ThreateningPraintjffv\fithlmprisonrrentandlossofthejdant
                                          and W'J'O' has been the illegal
         children of the marria€e' G'G'O'

         strategyoftheDefend'antssincebeforePlaintiffflledforadivorceon
         theglÐundsofdomesticviolencea¡dadultery,i.naoo4.




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94. The Order to Show Cause was never legally fÌled in the local court,

   never serwed upon Plaintiff, who had no lawSrer, or so Plaintiff

   thought. Plaintiff was sent by the N-íPD to obtain a Temporary Order

   of Protection (pro se) in Family Courü, which was glanted.       Plaintiff
   had no idea about her rights vis a vis the Order to Show Cause wTrich

   threatened Plaintiff with Prison (Ex T). Plaintiff nowknows that an

   Affidavit in Opposition should have been filed, but since Plaintiff was

   the one attacked in her own home bythe Defenda,nt, .Ioh-n Craig

   Oxma,n, Plaintiff could not conceive of what she was up agairlst,

   could not conceive that Deceiving the Courb was the only way this

   realm "works". Since Plaintiff was prc se, is not a lawyer and was

   terrified for her yourg shildrsn,    T\rith every reason to be so, she was

   at a loss.

95.      Ptaintiff remains the client of Ïlerman Sloan Robarge &

   Sullivan, who were a firrn at least (if not still) until eOle (Refer to

   EX ìI HER,IIAN I'IHùII DOCIIMEIIT; Plaintiff was told over a¡rd over
   that Herman Sloa¡r Robarge & Sullvian had "fired" her in September
   of 2006. Plaintiff now knows a lavryer/firm must make a motion to

   Ieave a client, or a Consent to Change Attoraey must be fÌled; neither

   happened in this case, and DECEfVING TIIE COIIRT is their modus

   operandi. If a firm orlaw¡rerwishes to no longer represent        a client,

   the law¡rer/fi.rm must make a motion to the Cou¡t to be let out of the

   case, and there must be a Consent to Change       Attoraey. This never



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      happened a¡rd the firm of Pa,mela Sloan was and remains the

      attorney of record in oxman v. o:<rran. Their outra€eous a¡rd well-
      planned malfeasance is howthey operate in deceivingthe court for

      their own gain, a,nd destro¡ring young lives in the bargain.        rü   wourd

      be even slightly "easier" to r:¡derstand if Defendarrts were "avera6¡e"

      sorüs, but agaJn, these are highly sophisticated professionars, those

      in the r7o, fnom Yale Law and partners at the most importarrt ]aw

      firms and in investment banks in the country, demonstrating a

      wanton disregard for deeply illegal conduct, concocting a¡r entire

      lawsuit cobbled from fraud upon the court, oflIy to Deceive the cou¡b

      and misuse the system for their       oT/wl   gain, vrith no thought to public

      policy, public and TAIüF ñmds that payfor Courts to "operate" in

      such outrageous and illegat vvays. Proeedurally there is no "Ther€"

      there. Plaintiffwas lied to by Sloan and told that Defend.ant
      dernanded a trial on some made up "theory". But if there is to be a

      Tri.al, Plaintiff must be the one to file a Note of Issue.

section 206.12 Note of issue and certificate of readiness.
(a) General. No action shall be deemed ready for trial until
there is a filed note of issue accompanied by a certificate of
readiness, w¡th proof of service on all parties entifled to notice
in the form prescribed by this section. Filing of a note of issue
and certificate of readiness shall not be required for prisoner
pro se claims, for an application for court approval of the
settlement of the claim of an infant, incompetent or
conservatee; or an appl¡cation for court approval of a
settlement pursuant to sect¡on 20-a of the Court of Claims Act.
The note of issue shall include the claim number, the name of
the judge to whom the action is assigned, and the name,


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office address and telephone number of each attorney or
individual who has appeared. \Mthin 10 days after service, the
original note of issue and certificate of readiness, with proof of
service, shall be filed with the clerk.
(b) Forms. The note of issue and certificate of readiness shall
read substantially as follows:
NOTE OF ISSUE
Claim No.


New York State Court of   Claims,_                            District

                 Notice for trial
                      Filed by attorney for
                      Date claim filed
                      Date claim served
                      Date issue joined

                       Nature of action
                 Tort: Highway or motor vehicle negligence
                       Medical malpractice
                       Other tort (specify)
                       Appropriation claim
                       Small claim pursuant to article 6 EDPL
                       Public construction contract claim
                      Other contract
                      Other type of action (specify)


                      Amount demanded                                    $
                      Other relief

Attorney(s) for Claimants(s)
Office and P.O. Address:
Phone No.
Attorn ey(s) for Defendant(s)                 lnsurance carrier(s)

Office and P.O. Address

Phone No.
Note: Clerk will not accept this note of issue unless accompanied
by a certificate of readiness.

                   CERTIFICATE OF READINESS FOR TRIAL
                         (ltems 1-6 must be checked)


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                                                                  Not
                                                  CompleteWaived Required
1. All pleadings served and filed.
2. B¡ll of particulars served and filed.
3. Physical examinations completed.
4. Medical reports filed and exchanged.
5. Expert reports filed and exchanged.
6. Discovery proceedings now known to be
necessary completed.
7. There are no outstanding requests
for discovery.
8. There has been a reasonable opportunity
9. There has been compliance with any order
issued pursuant to section 206.10 of this Part.
10. The action is ready for trial.


Dated

(sig nature)

Attorney(s) for:

Office and P.O. address:


(c) Pretrial Proceedings. Where a party is prevented from
filing a note of issue and certificate of readiness because a
pretr¡al proceeding has not been completed for any reason
beyond the control of the party, the court, upon motion
supported by affidavit, may perm¡t the party to file a note of
issue upon such cond¡tions as the court deems appropr¡ate.
Where unusual or unanticipated circumstances develop
subsequent to the filing of a note of issue and certificate of
read¡ness which requ¡re additional pretrial proceed¡ngs to
prevent substantial prejudice, the court, upon mot¡on
supported by affidavit, may grant perm¡ss¡on to conduct such
necessary proceedings.
(d) Str¡king Note of lssue. \Mthin 20 days after serv¡ce of a
note of issue and certificate of readiness, any party to the
act¡on may move to strike the note of issue, upon affidavit
showing in what respects the action is not ready for trial, and
the court may strike the note of issue if it appears that a
material fact in the certificate of readiness ¡s incorrect, or that
the certificate of readiness fa¡ls to comply with the


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requirements of this section in some material respect' After
                                                              good
such period, no such motion shall be allowed except for
causé shown. At any time, the court on its own motion may
strike a note of issue if it appears that a material fact in the
certificate of readiness is incorrect, or that the certificate of
readiness fails to comply with the requirements of this section
in some material resPect.


gg. There was no Note of lssue ever filed in the state court, but a fake
trial was held with no discovery, no witnesses, it was fraud and deceiving

the Court, all concocted by well regarded international lawyers, David Craig

Oxman, Stephen A. Oxman, John Craig Oxman, Pamela Sloan, et al'




    90.     All the Documents "concocted" were allegedly done on 27

    October 2006, by Stutman and BronsteinÆypermaas. HOWEVER, to

    fully contradict this, William Herman, Esq., of Herman Sloan Robarge &

    Sullivan, as shown, submits a document to the very same court stating

    CLEARLY     that his firm (Herman Sloan Robarge & Sullivan) were the

    lawyers/firm for plaintiff on 27 October, their firm still a business before

    the State of New York in 2012.

    91.        It is imperative that a jury of the people hears this case' It is

    imperative that the people of the United States be made av\ralle of the

     cornrption and moral turpitude running rampant in "state courtsn, such

     as   this d.ocument describes in detail. These courts employ eugenics aJld


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social engineering, måxglnalizing femåIe Plaintiffs (mothers in some

cases) and psycholo$ically conditioning and corruptin$ Anerican

youth. That there is no Attorney/Client hivilege is a fact. As can be

seen here "The Postca¡d" from Dia¡ra Paine Alvares Cotrea, she clearly

states that Plainiff had no Attorney/Client privilege nor HIPPA rights

T/yith Dr. David Levine. Irr   fuIl conflicts of i.nterest, Plaintiff hadbeen

"hustledn by the *go-between" Dia¡ra P. Alvares Cotrea, into retainin$

Pamela Sloan, Esq.,   at Herman      Sloa¡r F,obar$e & Sullivan and Dr. David

Levine, whereby Dia¡ra Paine Alvares Correa, a client of both, "insisted"

that Plaintiff *use" these professionals, then berates and sla¡rders
Plaintiff in r/rriting that makes clear deeply rrnethical things are

occurring. No ethics, no observa¡rce of any legal propriety what so ever,

but instead to exploit a system that has been cornrptedby the

Defendarrts themselves, prominent pnrfessionals, who have no concerns

for their illegal behavior, indeed, they ar€ arnusedby "getting over" in

this and other legal endeavors outside of the scope of this document, but

none the less, points to a cor¡rse of conduct and a r\ray of obstructing

justice and performing illegal acts because Defendant's gain a¡rd know

ühey wiII not be held to any legal standard at all.

9e.       Upon lea,rning the true D.¿unes and capacities of the DOE

    defendants, Plairrtiff asks leave of the Court to amend this complaint

    as appropriate. At all times set      forthbythe averments herein and
    henceforth where Plaintiff alleges that any Defendarrt has



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   perpetuated and/or conüinues to perpetuate a pattern of collusion,

   conspiracy, schenrÌag!, fraud, extortion, witness tampering¡,

   retaliation, abuse, harassment, torbious interference, tortious acts,

   intentionar infliction of emotional distress, personal injurSr, fäJse

   imprisonment, obstruction ofjustice, constitutional violaüions,

   ethical violations, violations of public policy and codes of conduct,

   indecency, a,nd shal] eonstitute as predicate acts in violation of the

   Constitution, for per"sonal gain or pleasr:re, and acted beyond ühe

   scope of   their responsibilities and/or failed to act pursuarrt to their
   responsibilities as ofÍicers of the court, fiduciaries, r€pr€sentatives

   of the Town of Gneenwich, Ct., and/or officers of the court.

9õ.Declaratory relief is available pursuant to 28 u.s.c. eeol - creation

   of Remedy     and Ê8 U.S.C. 2eOe - firrbher relief.



              FURTHER FACTS AND PROCEDURAL HISTORY

       lllegal Documents commencing with Greenwich Quitclaim Deed

9'4.     on or about on cruly e5, åor4 Plaintiff had reason to contact

   the Greenwich Town HaIl, Clerk's Office, and inquire about the

   ownership of Pla,intiffs home g Paddock Drive, Greenwich,

   connecticut, where Plairrtiff and her two (2) children, G.G.o. and

   w."r.o. had movedto a,fter 9/LL. The infa,nt children of the måxria€e

   were enrolled in the Parkway school - a tnre and correct copy of




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  enßrllment was annexed in the origiinal ñling, as G.G.O. was born

  rì/ith a hearing impairment a¡rd required services ulder an IEP, etc.

95.     Plaintiff a,ndthe childrenwere/are victims of domestic

  violence. Ptaintiff and the two (2) children hadbeen living in New

  York at I lOO Park Ave NY NY whene the infant children attended

  private schools, respectively, The Dalton School, and The Buckley

  School. Defendant,             Craig Oxma,n, natural father of the
                         "Iohn
  children, G.G.O. and   T/II.J.O.   ïvas never home in New York, except on

  weekends, upon occasions, when he claimed he needed to "travel              for
  work'.   \Alhen Defendant, .Iohn Craig O:anan was home, he abused

  the children and the Plaintiff. Several documents, including police

  reports, attesting to this - tnre a,nd cornect copies ar€ annexed. But

  ñrrther, ma¡rdated reporters, such as Dr. William Dince, knew of the

  violence a€ainst the infant children, and instead of reporting the

  illegal conduct, he intentionally inflicted emotional djstness on the

  Pla,intiff and the children as can be seen in his e mails     a,   sopy of some

   of the DINCE e mafls a¡e a¡nexed hengto as TIXFTRII         ìfl.      Plaintiff
  had hoped to preserve the ma,rriage for the sake of the children, by

  moving them to Greenwich, Connecticut and thereby keeping the

   children in a "safety zroîe". However, David Craig Oxma,n, Esq., for

   Plaintiff and Defendant and their children,      G.G.O. and W.c.I.O.   lives in

   Greenwich, Ct., with Phyllis Statter OlcnaJr, had advised Defenda^nt

   John Craig Oxmå,n, his natural brother, that in order to "stake a



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  claim" it wourd appear, David craig oxmån, Esq., arong T¡rith phyllis

   statter oxman, and stephen A. oxman, instructed Defenda,nt .Joh¡
  craig oxman to take a limo home everrr night from credit suisse at

   11 Madison Ave. NY NY, where Defenda¡rt, John craig oxman has

  been employed since     r98õ. The parties m.arried in rggõ a¡rd had
  theirfirst child in 199e, the second irr rgg5. Defendant did not
  suddenly change his conduct for n-ôasons of being a "family ma¡r" but

  rather Defendant's concerns lvere his     need. to   domi¡ate and contnrl
  a¡rd demonstrate illegal "ownership" of marital assets, etc a;rd

  exercise power and control over Plaintiff.

     Defendants David Craig Oxmatrr, Esq., a¡rd Trust & Estates

  attorney for Plaintiff and Plaintiffs children, set up a Trust behind

  the back of Plaintiff, under the Eþise of it being for the benefit of the

  children, G.G.o. and vtr."r.o. John craig orm.an and David oxma¡r

  wer€ in charge of the secret "Trust" as \,vas stephenA. oxman, and

  Defendarrt Phyllis statter oxrna¡r was arso priw to the facts.

  Plaintiff and the children, GGo a¡rd T rJo had no chance a€ainst this

  kind of "realm".

  96. Plaintiffwas referred to crames A F\:rton,       Esq., as a ritigator   in
  Greenwich,   cr who handled fraudurent     deeds such as the Greenwich

  CT Quitcla,im Deeds; instead, Fulton took     plaintiffs money, never

  appnrached the illegal deed, wrote aWiIl, and made himself

  beneficiar5r of Plaintiffs estate, a¡rd his firm as well.




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                             PARTIES


96. Ellen Oxman, Plaintiff Pro se is a resident of New York State, natural

   mother to G.G.O. and W.J.O.

97.G.G.O. and W.J.O., legitimate children of the marriage, cannot be

   represented by Plaintiff as Plaintiff is not a lawyer, as the Court has

   previously informed Plaintiff pro se.

98.John Craig Oxman, Defendant, resides and or does business in the

   State of Conneqticut, was the husband of Plaintiff and married

   Plaintiff January 5, 1985 obtaining an ex parte divorce without

   knowledge of Plaintiff, obtained at some point in 200ó.

99.David Craig Oxman, Defendent, resides and or does business in the

   State of Connecticut was brother-in-lw of Plaintiff, and lawyer for

   Plaintiff, Defendant, children of the marriage, G.G.O. and W.J.O. and

   for Phyllis Statter Oxman, Stephen A. Oxman, et al. ln effect, the


  lawyer for the "Oxman Family".

tOO.     Phyllis Statter Oxman, Defendant, resides and or does business

   in the State of Connecticut, was sister-in-law of Plaintiff and has

   control over her mother's foundation, the Amy Plant Statter



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  Foundation, controlled by David Craig Oxman, Esq., through his law

  firm, Davis Polk & Wardwell, where, upon information and belief,

  David Oxman has illegally mingled, in part, Plaintiff's hidden assets in

  the Amy Plant Statter Foundation.

1OI.    Pamela Sloan, Esq., Defendant, resides and or does business in

  the State of Connecticut was and remains the attorney of record for

  Plaintiff in the underlying proceeding that was imporpoerly

  commenced in NY, by her firm, "Herman Sloan Robarge & Sullivan"

  which legally existed until 2012, as is seen in their document of

  incorporation.

1O2.    Cate Keeney, Defendant, resides and or does business in the

  State of Connecticut and was the Real Estate Agent for the property

  9 Padock Drive, Greenwich, Connecticut, when Plaintiff bought the

  home sigh unseen by Defendant, John Craig Oxman.

1O5.    James A. Fulton, Defendant, resides and or does business in

  the State of Connecticut, is a lawyer in Gonnecticut, to whom Plaintiff

  was referred for the purpose of uncovering the illegal deeds on

  Plaintiffs home in Greenwhich Connecticut. Fulton took a financial

  advance from Plaintiff without a retainer, and had no intention to

  attempt to uncover the Deed Fraud, despite this being one of his


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    areas of expertise. tnstead, his ,,firm,,
                                              drew up a will, naming

    FULToN as a "good friend" and BENEFTCTARY
                                              of ptaintiff, despite the
    fact Plaintiff does not know Furton at ail but
                                                   for meeting him once or
    maybe twice in his office in Greenwich
                                              ct. can,t make that stuff    up.
 1o4.     Michaer urfirer, Defendant, resides and
                                                  or does business in the
    state of connecticut and was a coileague at
                                                credit suisse with
    Defendant' John Craig Oxman. He and his
                                            wife, Leslie Cornfeld were
   "friends". when cornferd divorced urfirer he referred
                                                         Defendant
   John craig oxman to one of his two (2) firms,
                                                 the ,,Firm,, Brank/Rome,
   Sheila Riesel, helped in a campaign of inflicting
                                                     intentional emotional
   distress against praintiff and praintiff s chirdren,
                                                        which continues.
1o5.     Gerald Lodge, Defendant, resides and or
                                                 does business in the

   State of connecticut and is a coileague at
                                              credit suisse with
   Defendant, John craig oxman, and rived in
                                             the same buirding in
   Manhattan, Apt 3D, untir praintiff moved with
                                                 the chirdren to
  Greenwich, ct after g/11. Aided and abetted
                                              hiding marital assets,
  through credit Suisse and aided in campaign
                                              of intentional infliction
  of emotional distress against plaintiff.

106.    Brady Dougan, Defendant, resides and
                                             or does business in the
  State of connecticut and was the chief Executive
                                                   officer of credit


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  Suisse,inchargeofDefendants'JohnCraigOxman'andGerald
                                                       marital assets'
  Lodge, and aided and abetted in hiding and secreting

                                                  emotional distress and
  helped in campaign of intentional infliction of

  abuse against Plaintiff'

                                                     does business in
1O?.     Stephen A. oxman, Defendant, resides and or

  theStateofNewJersey,thebrotherinlawofPlaintiff,anda
   ,,prominent,, lawyer/banker, former litigator at cravath, Sherman &

                                                     wasserstein' and of
   Sterling, was a close colleague of the late Bruce

   JosephPerella,DefendantStephanA.oxmanwastheHeadofthe
                                 ,,interviewing" Rhodes Scholarship
   Board of princeton as well as

                                              Rhodes Scholarship with
   candidates in his capacity of having had a

                                                   Yale Law (as he did
   william Jefferson clinton, with whom he went to
                                                       ',foundation,,
   with Hillary Clinton). Stephen A. oxman has his own
                                                hide Plaintiff's marital
    which appears to be another vehicle used to

    assets.

           Carmella P. Budkins, Defendant' resides and
                                                       or does business in
 ro8.
                                                   at Greenwich'   ct'
    the State of connecticut and is the Town clerk
                                                  subject to Monell
    Town Hall. c. Budkins is a Town employee, and

     claims.




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1O9.     David Typermaas, resides and or does business in the State of

  Massachusetts and was a lawyer with Peter Bronstein, another firm

  for Defendant, John Craig Oxman, until recently, whereby he has

  relocated to Boston, Mass to work for Morgan Stanley. Typermaas

  "Witnesses" Plaintiffls "signature" on several documents, but

  Typermaas has a conflict of interest as he is Defendant's lawyer, and

  Plaintiff was not present, and so Typermaas oversaw the forging of

  Plaintiffs signature. Typermaas is an officer of the court.

110.     Leslie Weber Hoffman, resides and or does business in the

  State of Virginia, is a divorce lawyer in DC and does Guardianship

  work with judges in cases of incapacity. Attorney Hoffman nee

   Kuhlthau, is First Cousin to Plaintiff. Hoffman was involved in corrupt

   schemes across state lines in a number of different litigation events

   where she worked with "The Oxman Defendants", using schemes and

   Bait and Switch tactics to aid in the fake documents in this filing and

   other schemes in which she was a key player with the Oxman

   Defendants. Weber Hoffman is an officer of the Court.

111.     Andrea Marcolini Dunn, resides and or does business in the

   State of Massachusetts and is a childhood friend of Plaintiff, also took

   favors from Defendants, and worked against Plaintiff in order to


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     prof¡t from oxman Schemes from which she benef¡tted. Acted as a

     go-between.

112.       John Peter Dunn, reside and or does business in the state of

     Massachusetts and is married to a childhood friend of plaintiff, also

     took favors from Defendants, and worked against plaintiff in order to

     profit from oxman Schemes from which he benefitted. Acted as a go-

     between.

I   rõ.    Diana Paine Alvares Correa, resides and or does business in the

     State of Maine, and was a "friend of Plaintiff, having met through        a


     friend, Wiilliam H. Whyte, author of the Organization Man. paine

     violated Plaintiffs attorney client privilege with Herman & sloan, as

     well as violated HIPPA by discussing Plaintiffls "medicat" issues with

     Dr. David Levine, a doctor in New York, married to Carly Simon,s

     sister, acted as a go-between.

I14.       Diane Carol Troup, resides and or does business in the State of

     virginia and was Plaintiffs college roommate, but was on a "witness"

     list to testify against Plaintiff; it seems she was part of a libel and

     slander campaign against Plaintiff, acting as a go-between.

115.       Jane Does 1-20 resides and or does business in the state of

     Connecticut or other jurisdictions that are not New York.


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116.      John Does 1-20 resides and or does business in the State of

   Connecticut or other jurisdictions that are not New York.




                     GAUSES OF AGTION

A. Gonspiracy Against Rights        l8 U.S.G. 241
B. Deprivation of Rights under color of Law         l8 U.S.G. 242

  Fraud and related activity in connection with identification

  documents, authentication features, and information             l8
  u.s.G 1028,


G. Mail Fraud   l8   U.S.G. 13


D. Wire Fraud   l8 U.S.G. 1343
E. Bank Fraud    l8   U.S.G. 1344


F. lntangible Person Property Right Deprivation Tifle 1B u.s.G.

  I 503
G. Obstruction of proceedings before departments, agencies

  and committees:        l8   U.S.G. 1505

l{. Obstruction of Griminal lnvestigations l8 U.S.G lSl0




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      l'              with a witness, victim, or an informant:
         I;io"r-ng                                             rg u.s.c.
      J' unraurfur conduct with respect to
                                             documents in furtherance
         of trafficking

     K' lnterference with commerce
                                   by threats or viorence rg usc
        I 95t

     L. Statking lg U.S.G. 2261 A

     M' viorence Against women
                               Act (vAwA) : 42 u.s,G, 136,
         subchapter   lll
    N' Farse rmprisonment and Deprivation
                                          of Right s 42u.s.c.
         3631

    o' conspiracy to rnterfere with      Givir Rights 42 U.s.c. 363r
       when a judge viorates a ritigant's
                                          constitutionar rights,
 subject matter jurisdiction is lost.



                            GAUSES OF AGTION


           oNE¡ F.,RTEENTH AMENDMENT
lr"rït                               vroLATroN 42 u.s.c.
(Due Process, Famiriar Association,
                                    Right to parent, Gonspiracy,
Breach of Gontract, Abuse
                            of process, Gulpable Breach of
                                                             Duty,
lntentionar rnfriction of Emotionar
                                    Distress, personar rnjury)

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I17.       Plaintiff repeats and realleges all of the allegations above as if

     fully alleged herein.

1f   8.    This count is brought by the plaintiff, Ellen Oxman, against

     Defendants alleging a cause of action under 42 U.S.C. 1983      14th


     Amendment.

119.       At all relevant times, Plaintiff and Defendants were "persons"

     pursuant to 42 U.S.C. 1983

1eO.       At all relevant times, Defendants engaged in violations of

     Plaintiffls Rights to Due Process under the 14th Amendment "Due

     Process". Saralee Evans, Stutman, Bronstein, "The Oxmans" et al,

     engaged in a course of conduct and acted as "go-betweens" to deny

     Plaintiff access to court hearing, and direqt documents that would

     define Plaintiffs right to property, liberty, all elements of "Due

     Process" under the laws of the State and the US Constitution.

121.       As detailed above, the Defendants acted as a group to deprive

     Plaintiff of all information involving Plaintiff's case before the Gourt,

     and the result was Plaintiff was illegally deprived of her property and

     freedom because of extortionate threats made by Defendants, all

     working in concert in this regard.




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Iee.       As detailed above, Defendants "The Oxmans" David, Craig and

  Stephen, are lawyers and took Oaths to uphold the law. Further,

  David Oxman was a naval officer, and had to have taken an Oath to

  uphold the Constitution as well as his Oath as a lawyer. Stephen A.

  Oxman, also a lawyer, would have taken an Oath to uphold the law,

  and a further Oath when he took Office as Assistant Secretary of

  State. John Craig Oxman would have taken an Oath to become a

  lawyer in the State of NY. Other Defendants were under similar

  "Oaths" such as Stutman,Sloan, Herman, Weber Hoffman, et al.

IÊõ.       Defendants were in positions of extreme power over Plaintiff

  and her children. They had full knowledge of the fraud they

  committed, and connived to work together to execute their illegal

  schemes, both in the Court and in every other area in which they

  could abuse their power and influence.




I24.       Defendants deprived Plaintiff of her federal substantive and

  procedural due process rights in Supreme Court by denying her

  access   to the court, by not permitting Plaintiff proper legal

  representation, denying Plaintiff knowledge of fair and full hearings,

  to be notified of said hearings, by this Defendants violated Plaintiff's


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                                       familial association and freedom
 constitutional rights to due process'

                                  1"" 4th'         and 14th Amendments of
 of religion as guaranteed by the
                                             5th



  the U.S. Constitution'
                                             acted in concert or
1e5.     Defendants made' caused to be made'

  conspiredtomakeand/oraidedandabettedoneanothertomake

  representationsastomaterialfactsasallegedhereinwhichwere

  false,andknowntobefalsebyDefendantsandweredoneaspartof
                                         are a "group" to be
   Defendants' custom and policy as they

                                        who undermine court
   categorized as relatives and friends

   proceedingsandintegritytocomplicateandprotractcasessothey

   can profit.

                                             policy' at all relevant times
 1e6.     Acting pursuant to said custom and

    allegedherein,Defendantsactedinconcertandwiththecooperation

    and encouragement of each other
                                    to commence and continue

    fictionalizedproceedingsagainstPlaintiffandcontinuedthe

     prosecutionofPlaintiffEllenoxmaninSupremeCourttothepointof

     destroyingherrightstoherproperQt,heraccesstoherchildren,
                                           with fraudulent litigation that
     and/or having third parties interfere

       causedPlaintifftonotbeinformedastoherrightsunderthelaw.



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1e7.    Defendants caused said prosecution of Plaintiff Ellen Oxman by

  filing baseless motions (such as the order to Show Cause, incorrectly

  titled in the civil lndex Minutes as "court Exhibit dated 1110912006.l

  Filed false financial reports, false forensic reports or no reports at all,

  false documents (Judgment of Divorce, Greenwich euitclaim Deeds)

  to obtain legal results that were void ab initio, and to damage the

  relationship Ellen Oxman had both with her children G.G.O. and

  w.J.o.,   as well as   to damage her reputation in societ¡r. Defendants

  willfully and maliciously continue to fabricate facts, reports and orders

  and ignore any report that Plaintiff submits to expose the facts of the

  matter

1e8.    Defendants deprived Plaintiff and her children, G.G.O. and

  W.J.O. of their federal rights to access their mother, propert¡r, right

  to be told of hearings, right to fair hearings by ignoring all the facts

  of matter as reported and by allowing Defendants "The Oxmans" and

  their cronies, to control the court proceedings based on their

  personal bias and greed.

129.    By reason of the foregoing, the Defendants are liable      to

  Plaintiff pursuant to 42. u.s.c 1983 for damages, and other and just




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       relief as determined by the Court, and any other relief which the

       Court deems proper.

GOUNT TWO: FIRST AMENDMENT VIOLATION                     - FREEDOM OF
SPEEGH      - FREEDOM OF RELIGION


  15O.       PlaÍntiffnspeats a¡rd realleges all of the a[egations above as if

       fillly alleged herein.
  1õ1.       This count is brought by Plaintiff against Defendants, who gas-

       l¡ghted/ brain washed Plaintiff into thinking a Court can just pass an

       unseen magic wand, and pronounce Judgments as "done",

       Stipulations (Contracts) as real, when they are not, Sewer Service as

       legitimate when it's illegal and invalid service, making all legal actions

       null and void.

  f   õ3.    At all times relevant, Defendants sought to silence Plaintiff by

       threatening Plaintiff with arrest, civil contempt, and other lies in order

       to deprive Plaintiff of her Freedom of Speech, to tell the truth, under

       the First Amendment of the United States Constitution.

  136.       Pursuant to the First Amendment, Plaintiff is guaranteed the

       right to Free Speech without the interference from State actors and

       other Defendants.



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L64.    Those rights were deliberately and maliciously interfered with

  by Defendants, who in brutal ways, have tried to silence Plaintiff with

  threats of jail, arrest, fines, penalties for "crimes" that Plaintiff never

  committed. lt was to cover up the crimes of the Defendants, forgery,

  fraud, illegal Judgments by judges who are not really judges before

  the law and the courts, working in concert with the other Defendants

  with illegal tactics to terrify the Defendant into silence. Deathly

  silence.

1õ5.    Defendants took an illegal position against Plaintiff in order to

  force Plaintiff into a position where she did not and could not know

  her rights, because she was deprived of them.

L36.    Defendants as State actors and the other Defendants abused

  their powers and positions in the court to ignore Plaintiffs

  constitutional rights to Freedom of Speech and Freedom of Religion.

r.õY.   Defendants as state actors and other Defendants aided and

  abetted obtaining an illegal judgment of divorce, without the

  knowledge of Plaintiff, which deprived her of her Freedom of

  Religion, as the divorce, done without the consent or knowledge of

  Plaintiff, caused her to, essentially be ex-communicated from the

  Catholic Church, without any recourse, or ability to explain how,


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  when, why and where she was Divorced, since it happened without

   Plaintiffs participation. Plaintiff was not informed of the Court date

  of 30 October 2006, that can be seen now on Web Civil Supreme.

   Plaintiff never had heard of Web Civil Supreme untit Plaintiff attended

  meetings of the coalition for Family Justice, where severat "lawyers"

  told Plaintiff how to research her case on the web. lf not for that

  (Novemeber 2Q10 the marathon sunday was Plaintiffs first meeting

  with the coaltion) Plaintiff would not have been able to commence

  her investigation that has led up to this filing. Defendants as state

  actors deliberately and other Defendants, deliberately denied

  Plaintiff access to documents and information that would have made

  Plaintiff aware of the events going on without her informed consent.

  All was done in secret, against the law, against the constitution, as

  has been stated.

158.     Defendants as State actors and other Defendants abused their

  powers deliberately ignoring Plaintiff's rights as a mother, a partner

  in a legal marriage, in order to deprive plaintiff the right to exercise

  her freedom of speech, religion, and to care properly and equally for

  her children, who prior to Plaintiff filing for divorce had been in her

  sole care, as the Defendant, John craig oxman, was never home, as


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       witnesses stated but praintiff's rawyers
                                                REFUSED to represent

       Plaintiffs interest in court document
                                             or otherwise, to the detriment
    of justice.

 1õ9'       Defendants as State actors and the
                                               other Defendants abused
    their powers and positions in the court
                                            to ignore praintiff s
    consitutionar rights to promote Defendants
                                               serf interested and

    unwarranted and unravvful beliefs, including
                                                 religious, schooling and
   and therapeutic and medicar abuses
                                      as caused to happen by the

   Defendants, upon praintiff and GGo
                                      and      wJo without a basis and
   using fictionar, farse and fabricated
                                         documents, property deeds,

   contracts to settrement, iilegarjudgments
                                             of divorce, in co¡usion with
   each other to create a farse case
                                     to support their unrawfur objectives
  to deprive praintiff of constitutionar Rights
                                                to Free speech and
  Freedom of Religion.

l40.      Defendants deriberatery and mariciousry
                                                  interfered with
  Plaintiffs rights by Defendants bias
                                       against plaintiff because of her

  religion, race, sex, age, and status,
                                        iilegaily giving rights to Defendant

  John craig oxman, to which he was
                                    not entitred under the raw.




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141.       Because   of Defendants' constitutional violations, Plaintiff lost

  her right to her freedom of speech and right to her religious freedom

  and heritage.

L4P.       By reason of the foregoing, the Defendants are liable to

  Plaintiff pursuant to First Amendment violations u.S.c. for punitive

  damages, injunctive relief and other and just relief as determined by

  the Court and any other relief which the Court deems proper.




  GOUNT Tt{REEr 42 U.S.C. 1983              - MONELL GTAIMS


146.       Plaintiffnapeats a¡rd realleges all of the allegations above as      if
  flfiy   alleged herein.

r44.      This count is brcughü by ptaintiff alleging a cause of action

  under 4e U.S.C. 1985 - Monell Claims.

L45.      The foregoingviolations of PlaintifPs Federal constitutional

  rights and injuries were fi,rbher directly, forseeably, proxÍmately,

  and substantially caused by conduct, chargeable to Carmela

  Budkins, Town clerk of Greenwich ct. who accepted the fraudulent

  Quitclaim Deeds, never notifying Plaintiff of their existence.
  Defenda¡rt Budkjns said herself she should noü have accepted the



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  Quitctaim Deed of 37 October eOO6, as it was defective, and had no

  documentation as required by law - in the upper left hand corner         it
  should state: Record a¡rd F,eturn - and then to whom it's returned. to

  a¡rd at what address, as is to be seen in the second illegal Quitclaim

  Deed..

L46.       Plaintiffls right to her property, both her home at g Paddock

  Drive and the contents, all of her clothes, inherited firrniture, all of

  the children's belongfnEfs vyere illegally seized by Defendarrts "The

  Oxmans"     .   Plaintiff was not notifi.ed as she should havebeen, a,nd

  the taxes a¡rd transfer monies ürere "waived". It's highly rrnusual.

L47.       Because of the Town Clerk's acceptance of a Fraudulent a¡rd

  forged Quitclaim Deed, of which Plaintiff could have had no

  knowledgfe, Plaintiffs Federal Constitutional rights to her own

  property was lost.

148.       The fore$oin€lviolations of PlaÍntiffs Federal constitutional

  rights   a,nd   injuries weÌe flrrther directly, forseeably, proximately,

  a¡rd substa,ntially caused by conduct, chargeable to Defendant

  Butkins, Town Clerk of Greenwich Ct, amorrnting to deliberate

  indifference to the constiüutional rights of persons as property

  oü7ners in the Town of Greenwich Connecticut.

I49.       Defenda¡rt, Carmel Budkins, actjng as the Tornm Clerk, acted

  üdth deliberate indifference to Plaintiffs ri€hts to her own propêrbV,




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  by accepting a Deed that is clearly defective, as she herself admitted

  to Plaintiff.

15O.       Because of Defenda,nts consüitutional violations, Plaintiff lost

  her home and her properby on a firlly fraudulent and defective

  QuitclaimDeedbecause of failure to oversee the Town Clerkbythe
  Town of GneeruVich, Connecticut.

151.       By actingT¡rith deliberate indifference to implement a policy of

  adequate üraining!, and/or faitingto trains its employees and State

  actors providing the constitutional protections guararrteed to

  fndividuals, including¡ those rrnder the Fourbeenth Amendment,

  when performing actions relating to legal tra¡rsfer of property,

  Pleintiff lost her home on a forged deed.

I52.       By acting\nith deliberate indifference in implementing a

  policy of inadequate supervision, and,/or failing to adequately

  supervise its agents, employees and State actors, in pnrviding the

  constitutional protections guaranteed to individuats, including those

  under the Fourteenth Amendment, when performing clerical actions

  of tra¡rsfer of pnrperby;

155.       The wrong choiceby such employees concerrring such issues

  will   cause the deprivation of the constiüutional rigfhts of litigants and

  their ehildren, the loss of their home and pnrperüy, a¡rd cause them
  c   onstitutional inj ury.




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  L64.         By reason of the foregoing, the Defendants are liable to

       Plaintiff pursuarrt to 43 u.s.c. 1985 - Monell claims, for prrnitive

       dama4les, a¡rd financial da,mages to be deterrrined, and other and

       just relief as deterrrined by the Court, and any other retief which the

       Court deems proper.

GOUNT FOUR: UNLAWFUL SEARGH AND SEIZURE EXTORTTON

Tt{E   FTOBBS AGT     lg U.S.G. tg5l
  155.         Plaintiff repeats andrealleges all of the allegations above as if

       ñfly   alleged herein:

  156.         Defenda¡rts invaded Plairrtiffs privacy and rights to property,

       a¡rd are liable to Plaintiff for damages. The Fourth Amendment

       $ives rise to a right of action a€ainst law officials for damages from

       a¡runlawful search and seizure.

  157.        The State actors in NewYork, Saralee Evans a,nd Lau¡a

       Drager, accepted documents theyknewvvere fraudr:rent. The order

       üo Show Cause,   that threatened Ptaintiffr/yith arrest was an illegal

       document, never served on Plaintiff, but ma,iled to plaintiff by

       certified mail. since Plaintiff hadbeen assaulted in her home, had a

       Temporar¡r order of Protection, Defenda¡rts "The oxma¡rs" r€sponse

       was to file an Order to Show Cause (tisted in the courb rnÍnutsg as *

       "Courü ExhibÍt") in order to Deceive the Court,    terrify Ptaintiffa¡rd
       her child¡en, a,ndby such a fraudr¡rent document, plaintiff had not

       rrnderstarrding of her rights, a,nd her first concerns r\r'ere for her



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 chjldren.Thefat<e*ordertoShowCause'ledtothe"stipulationnto
                                                                to
                                    of 2OO? and force Plaintiff
              s properby Ín January
  seizePlaintiff

 lostherÏromeinConnecticut,bywhatmechanismPlaintiffcou]dnot
  haveknown.It$ivesrisetodarna$esfromanudavrfutseartharrd
  seizure.

lss.Thiscou.ntisbrcughtbyPlaintiffagainstDefendantsalleginga
  causeofactionrrnderTheHobbsAct_18U.s.c.1951,wherebythe
   DefendarrtS,bVFu]IyDeceivirrgtheCourt,nvithille€ald.ocumerrts

   thatwerefraudulentarrdconcoctedbyla\^õrersPlaintiffhadnever
   hired,lefrPlaintiffwiththerurtnrepositionofbein€withouta
                                                Iicensed' in Connecticut
           when, in fact' Pa'rnela Sloan' Esq''
   lawyer,

    andNewYork,wassti]land.remainstheattorneyofrecordinthe
    rrnderl¡rirrgcase.Defenda,ntsdeceivedPlaintiffintosrrrrendering

    herhome,Ïrerproperty,herri$htstosamebyExtorbion,bYforce,by
    violencebyfear,actingr¡rrd.erthecolorofofflcialF,ight.Thiscrossed
                            it a Federal   case'
     state lines, matcing
                                                               inllict
  159.       Defendarrts actedintentionallyandrecklesslyþ

     emotionaldjstressupol].PlaintiffandthechildrenGGoandWJo'
     seiziflgPlaintiffspropertyintwostatesarrdotherjurisdictionsdue
      þfalsecourtproceedin$sdesi$rredtodeceivethecourbarrdtrick
      Plaintiffintofearingforherwell-beirrg,hetlife,a,rrdthewe]].being
      andwelfareofthechildrenofthema¡ria€e.Thefalsestatecourt




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  prcceedings violated Plaintiffs constitutionar and due prccess

  rights.

160.    As a resr¡It of Defendants actions Plaintiff has developed PTSD

  a¡rd severe psycholo€rcar damage, hearbbreaJ<, shock, disbelief, and

  the emotional dist¡ess Plaintiff has suffered is so severe that no

  reasonable person could be expected to endr:re it.

161.    Pursuant to claims of the 4tn Amendment, and violations of the

  Hobbs Acü, 18   u.s.c. 1951, Ptaintiff is entiüled to punitive relief,
  injunctive relief and damages to be deterrrined, and other a,nd.just

  relief as to be deterrnined by the cor¡¡t, and arry other relief which

  the Court deems prcper.



  GOUNT     F¡VE: MAIL FRAUD l8 U.S.G.1341
162.    Plaintiffrepeats and realleges all of the allegations above as if

  fully alleged herein.
16õ.    This courrt is bncught by Plaintiff against all of the defendants

  alteging a cause of action under Mail Fraud 18 U.S.C. Iõ41.

L64.    on November og, 2006, Defendants caused a¡r "order to show

  Cause" Ex Parte, threatening Plaintiff, and unrepresented       litigant,
  as she was told she was fÌred by Pamela sloa,n and sloa¡r's     finrr,
  Herm¿n Sloan F,obar€le & Sullivan.

165.    Ptairrtiff, believing she was an unr€pnesented litiga,rrt, received

  an order to show cause by certified Mail (no process server, No



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  Affidavit of service, No Notice of Entry, etc.). ptaintiff was illegally
  threatened BYMAIL for contempt of court, a,nd farse threat of

  imprisonment, in order to cover the cou¡t deceptions that the

  Defendants had enga€ed in.

166.    This is mail fraud and a violation of rB u.s.c. L641which

  prohibits arry scheme or "artifice to d.efraud." that uses any

  authorized depository for mail.

167.    This count is bnlrghtby Plaintiff against alt of the d.efendarrts

  alleging a cause of action under Mail Fraud IB U.S.C. l.34L.

  Specifically Ptaintiff alleges that she has been damaged as a result of

  these fraudtfenü acts as set forth above and that this count arises

  fn¡m scheme to deprive Plaintiffof her freedom, her right to liberüy

  and pursuit of happiness, freedom of speech, right to due prccess,

  rights to Plaintiffs oïvn property, by terrorizing plaintiff by mail,

  with illegal documents, such as a) the illegat order to show cause,
  which is illegally recorded in the civil rrrdex Minute Book rnquiry p.

  e #16, as "Court Exhibit".

168.    r\rrbher, included in ExrrrBfr   r   is additionat Mail Fraud,

  across state lines, whereby David T¡r¡lermaas, Esq., on March 16,

  2oo7 sends a cerbified Letter to Plaintiff, demanding plaintiff

  r€move property from her home, 9 paddock Drive, Greenwich,

  corurecticut, in accordance to "paragraph rB of your ("stipulatiotr")      ,

  however, it shows Plaintiff appears to be uu€pr€sented., and.



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                                                             as it was
   further, there is not stipulation to settlement contract,
                                                      is legal; it's a
   nevelt admitted into the court in any method that
                                                             It's MaiI
   contract that is void ab initio, as Defend-ants all know'

   Fraud and part of the scheme to Deceive the court a'nd
                                                              terrify the

   Plaintiffandherchildren,whowereyoungatthattime.
 169.AsaresultofMailFraudbyDefend.antsPlaintiffhassuffered
   stress,finarrcialdamasiesa¡rd.otherdama$esarisingfromthe

   schemesdescribed.hereinbyusin$thern¿,iltoterrrrrizePlajntiff.

 I?O.     As a resrft of ühis misconduct, Plaintiffasks for inju-nctive
                                                               determined'
    retief, financial relief for herlosses in ¿n amou-nt to be
                                                                   just
    bythe court and a,ny and other firrther relief the court deems
    andProPer.

GOUNT   SIX: UNJUST ENRIC}IMENT
                                                                       as if
  1?1.     Plaintiff repeats andrealleges all of the allegations above

    fuIlY alleged herein.

  1?2.     In reliance on Defendarrts' acts a,nd omissions a,nd outra€leous

     conduct,a¡rdasarractualarrdproximateresu]tofDefendants
     misconduct, nonfeasallce and matfeasance d'escrÍbed
                                                         herein'

     Defend.arrtshavebeenrrnjustlyenrichedbyPlaintiff,Ellenoxma'n'

     ühe exacü a,mount to be determined by the
                                               Courb'

                                                                        relief
  1?õ.     As a nesult of ühÍs misconduct, Plaintiff asks for financial
                                                                  afld any
     for her losses in a¡r amount to be d.eterrnined by the Court

      a,rrdotherfurtherrelieftheCourbdeemsjustaJldproper.


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GOUNT SEVEN: BREAGI{ OF FIDUG¡ARY DUTIES



  I74.     Ptaintiff repeats and realleges all of the allegations above as if

    fuily alleged herein.
  175.     This cou¡t is brought by Plaintiffagainst all defendants

    atle€In€ a cause of action for breach of fiducia^r5r duties r¡¡.der the

    laws of the State of Connecticut.

  176.     As set forbh above, Defendants       ¿üpe   sophisticated lawyers and

    IlIaIl Stneet bankers, Towrr Clerk of one of the wealthiest tovrms in

    Connecticut, et aJ.

  177.     As set forbh above, Defenda,nts were in a position of fi.duciaries

    to Pla,intiffa¡rd as such owed Plaintiff the utmost duty of care.

  178.     As set forbh above, the Defenda¡rts wrongful conduct arising

    out of the need to Deceive ühe Cou¡t, a,nd the Pubtic, breached this

    duty of care. Defenda¡rts wrongflil conduct constituted mrltiple

    violations rrnder Conlecticut law a¡rd relevant Federal laws,

    regarding same. A

  179.     As set forbh above, Defenda¡rts aided a¡rd abetted the breach of

    fi.duciary duties because theyknew of the schemes to Deceive the

    court, and provided substantiar assista¡rce in carrrring out these

    schemes on Íì.¿tJty levels, designed to emotionalty damage         ptaintiff

    and   GGO   and   WeIO,   for reasons knornm to them.




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  18O.    Each of the defenda,nts separatelyane liable for all of the

    da,mages   causedbytheir own r€spective nrrnngfui acts constitutin€

    bngach of the fiduciary duüies they owed Plaintiff, a¡rd as a result of

    tfris breach of fiduciar¡r duties, are r€sponsible for att of the damates

    caused to Plaintiff thereby.

  18I.    Each of the Defendants are liable for pr:aitive da,rnages arising

    fnrm theÍr wnrngfuf aets constitutingf breach of fiduciary duties

    insofar as their conduct in fi¡rtherance of their wrongû:l acts as set

    forth above amorrntedto egrcgious a¡rd intentional and/or reckless

    conduct ca¡ried out by the defenda¡rts a¡rd fÌduciaries a€ainst

    Plaintiff who ly¿rst in a far inferior position of knowledge and

    experience a¡rd who entrusted her most import legal matters and

    other matters to the Defendants ulder faJse pretenses.

  18e.    As a restft, Plaintiff asks the Cou¡t for fÌnanciat relief for her

    Iosses in an amor¡rrt to be determinedby the Court a¡rd for arry other

    and firrtherrelief the Cou-rt deems just and prcper.

COUNT EIG}IT    -   INFLIGTION OF EMOTIONAL DISTRESS

  18õ.    Plaintiff repeats and realleges all of the allegations above as if

    fully alleged herein.

  184.    This count is brought by Plaintiff against all the Defendants

    alleging a cause for intentional infliction of emotional distress under

    the common law of the State of Connecticut.



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185.     As set forth above, the wrongful conduct of the Defendants

   arising out of their schemes was a) intentional and/or reckless and b)

   outrageous and intolerable.

r86.     At all relevant times, Plaintiff had entrusted sensitive, personal

   and potentially valuable legal matters and other matters to the

   defendants, who held themselves out as trustworthy professionals.

   As set forth above, Plaintiff was defrauded by the Defendants and

   the Defendants engaged in a course of conduct directed against

   Plaintiff and her young children, in violation of Federal and State law

   and in violation of their fiduciary duties to plaintiff.

187.     As a direct result of the Defendants outrageous and intolerable

  wrongful conduct described above, Plaintiff suffered severe

   emotional distress and have been damaged thereby.

188.     Each of   the Defendants are liable for all damages caused by

  their own respective wrongful acts constituting intentional infliction

  of emotional distress upon Plaintiff, and as a result of aiding and

  abetting wrongful acts set forth above, for all of the damages caused

  to Plaintiff thereby.

189.     Each of   the Defendants are liable for punitive damages arising

  from their wrongful acts constituting intentional infliction of


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   emot¡onal distress insofar as their conduct in furtherance of their

   wrongful acts as set forth above amounted to egregious and

   intentional and/or reckless conduct carried out by the defendants as

   fiduciaries against Plaintiff who were in a far inferior position of

   knowledge and experience and who entrusted her most important

   matters, legal and otherwise, to the defendants under false

   pretenses.

190.     As a result, Plaintiff asks the Court for damages to be

   determined by the Court and for any and other relief the Court

   deems just and proper.

       WHEREFORE PLAINTIFF PRAYS FOR TI{E FOLLOWING

   RELIEF JOINTLY AND SEVERATLY AGAINST DEFENDANTS;

   A. That the aforesa¡d conduct of defendants be adjudged

       and declared to be in violation of Plaintiffs

       Gonstitutional Rights.

   B. That the aforesaid conduct of defendants be adjudged

       and declared to have been in violation of the common

       Iaw and statutes of the United States of America.




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   G. G. That the aforesaid conduct of Defendants be

      adjudged and declared to have been in violation of the

      common law and statutes of the State of Gonnecticut.

   D. That the aforesaid conduct of defendants as alleged

      against each of them herein be adjudged and delcard to

      have been identity theft, forgery, fraud, conspiracy,

      unjust enrichment, influence, theft of services, et al

   E. That the proceeding before the NY Gourto last heard in

      January oÍ 2O16 and ending in an order to deny Plaintiff

      her rights to property and due process and freedom of

      speech be adjudged and declared to have been void ab

      initio for lack of subject matter jurisdiction.

   F. That the judgment obtained without the knowledge or

      consent of the Plaintiff in Manhattan Supreme Gourt as

      of on or about November       11   2006 or Nov 2, 2006 are

      adjudged and declared to be void ab initio for lack of

      su   bject matter jurisd iction.

   G. That    the Stipulation to Settlement Gontracts (5 or more,

      none matching) and allegedly signed by Plaintill on 27



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        October 2006, are adjudged and declared to have been

        void as they were never filed with any court, never

        served upon Plaintiff, Plaintiff had no possibility to know

        they existed and the lawyers who concocted the

        documents 'ron behalf of Plaintifft remain a mystery.

        Said Stipulations to Settlement should be adjudged as

        null and void as they dontt exist on file in any court in the

        United States; they are void, as is the judgment of

        divorce.

   H. Granting an order to restore Plaintiffs home at            I
        Paddock Drive Greenwich Gonnecticut to her.

   l.   Granting and order that Defendant, John Graig Oxman,

        submit to an accounting of assets, that are still in the no

        mants land of ÍTBDD To Be Decidedä.

   J. Granting an injunction against Defendants from
        continuing their unconstitutional conduct.

   K, Granting an injunction against Defendants to

        Temporarily seize all Defendants assets and prevent

        transfer of pote ntial ly   fo rfe ita   ble property.



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       L. Granting an injunction against defendants requ-ring them

            to put a performance bond in an amount determined by

            the Gourt.

       M.   Awarding Plaintiff punitive damages to punish

            defendants and deter them from future misconduct.

       N. Awarding fees, costs and disbursements made by

            Plaintiff in the course of these above described events.

       O. A declaratory   judgment that the absence of a Final

            Restraining Order does not negate the existence of

            domestic violence and that the parties must be aware of

            what constitutes domestic violence.

       P. Such other and further relief as the Gourt may deem just

            and proper.

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                           ELTEN OXMAN                 r./,y, i r,u, (o t2Y ee)99b
       On therTday of $eptember 2A16, before me the undersigned,

       Ellen F. Oxman, personally appeared and signed the within

       document.                               NEEMCHAND GANESII
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                                             0ualrlred rn Eronx County
                                         My Commrssron Expres Jun 6.2020




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